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                                                        THE HONORABLE TANA LIN
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 7
                               UNITED STATES DISTRICT COURT
 8                            WESTERN DISTRICT OF WASHINGTON
                                     SEATTLE DIVISION
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10   SECURITIES AND EXCHANGE
     COMMISSION,
11                                             No. 2:22-cv-01009
                               Plaintiff,
12                                             DEFENDANTS ISHAN AND NIKHIL
            v.                                 WAHI’S MOTION TO DISMISS
13
     ISHAN WAHI, NIKHIL WAHI, and
14   SAMEER RAMANI,                            NOTE ON MOTION              CALENDAR:
                                               12th day of May, 2023.
15
                               Defendants.
16                                             ORAL ARGUMENT REQUESTED

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                                                                   JONES DAY
                                                              51 Louisiana Ave, NW
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 1                                          INTRODUCTION
 2          This case is about the rule of law and whether the most powerful entity in our society—
 3   the United States Government—must abide by the law when it brings its power to bear against a
 4   person. In this case, the Securities and Exchange Commission (“SEC”) is trying to seize broad
 5   regulatory jurisdiction over a massive new industry via an enforcement action against a 32-year-
 6   old former Coinbase employee and his kid brother. An enforcement action against individual
 7   people—particularly ones who are already occupied with federal criminal proceedings at the
 8   other end of the country—is not how major questions of law that loom over entire industries
 9   should be resolved. Yet that is how the SEC has chosen to proceed.
10          The legal deficiencies in the SEC’s Amended Complaint are serious, and the Court should
11   not allow the Agency’s brute-force approach to obscure them. The linchpin of the Amended
12   Complaint is that the digital assets Ishan Wahi, his brother, and the other defendant traded are
13   “securities” under the Exchange Act. Specifically, the SEC claims that each of those digital
14   assets constitutes an “investment contract” (and thus a security). The SEC is wrong. The term
15   “investment contract” requires—as the statute says—a contract. But here there are no contracts,
16   written or implied.    The developers who created the tokens at issue have no obligations
17   whatsoever to purchasers who later bought those tokens on the secondary market. And with zero
18   contractual relationship, there cannot be an “investment contract.” It is that simple.
19          But even if there could be an “investment contract” absent contractual obligations of any
20   kind, the SEC’s Amended Complaint would still fail. On the SEC’s account, there is an
21   “investment contract” whenever a person is “led to invest money in a common enterprise with
22   the expectation that they would earn a profit solely through the efforts of the promoter or of some
23   one other than themselves.” SEC v. W.J. Howey Co., 328 U.S. 293, 298 (1946). But this case
24   involves standalone digital tokens purchased over exchanges. Such token-buyers are not part of
25   any “common enterprise”; they do not pool their assets together as part of some shared endeavor;
26   and their fortunes are not tied to those of the original developers. In fact, such buyers do not put
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 1   their money in an enterprise at all; they send their money to unrelated third-parties in exchange
 2   for an asset—no different from when someone buys a baseball card on the secondary market.
 3   Nor do these token buyers expect the tokens’ value to rise “solely” (or even predominantly)
 4   “through” the efforts of the original developers. Rather, as the SEC’s Amended Complaint
 5   readily accepts, the tokens’ value is driven by market forces, not managerial efforts—as
 6   evidenced by the fact that the tokens are almost all functional (i.e., they can operate without any
 7   centralized intermediary) and that each experiences wide price fluctuations, regardless of the
 8   status of the underlying platform. Indeed, the SEC’s entire theory is that the Defendants
 9   allegedly got ahead of information about these tokens being listed on an exchange—not that they
10   had unique information about the “efforts” of the developers or some other “promoter.”
11          Even if the SEC could show that the tokens at issue satisfy Howey’s definition of an
12   investment contract, its Amended Complaint fails to adequately allege scienter. Nowhere has
13   the SEC alleged that the Defendants traded tokens with the mental state necessary to establish
14   federal securities fraud. To the contrary, nobody—neither the SEC nor the legion of sophisticated
15   counsel advising Coinbase—considered the tokens at issue to be securities before the SEC filed
16   this suit. Because the SEC cannot establish that the Wahis had the culpable state of mind
17   necessary to commit securities fraud, the Amended Complaint must be dismissed.
18          If the SEC really believes digital assets are securities, it should engage in a rulemaking
19   or other public proceeding explicating that view and providing guidance to regulated parties on
20   its implications. That orderly process—one administrative agencies have dutifully followed for
21   decades—allows the agency to receive public comments and facilitates a deliberative process,
22   ensuring the agency’s position is well grounded in fact and law. Should regulated parties disagree
23   with the agency’s views in its final rule, they would have an opportunity to contest those views
24   in court. This process ensures the law is clear before consequences are imposed—rather than
25   leaving people to guess about an agency’s intentions, order their affairs based on that guess, and
26   then suffer substantial penalties via ex post enforcement actions if they guess wrong.
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 1           The SEC’s parade of one-off enforcement actions against the likes of Kim Kardashian,
 2   DJ Khaled, Floyd Mayweather Jr., and now Ishan and Nikhil Wahi is—by contrast—a process
 3   designed to produce more heat than light. As one commentator put it, by pursuing only selective
 4   enforcement in alleged fraud cases, “which are more likely to settle out of court,” the SEC has
 5   largely “precluded judges from interpreting how securities regulations apply to digital assets.”
 6   Recent Guidance, SEC, Framework for “Investment Contract” Analysis of Digital Assets, 132
 7   Harv. L. Rev. 2418, 2425 (2019). The reality is that Congress has never endorsed the SEC’s
 8   sweeping view of its own authority, and the courts have interacted with it in only a handful of
 9   one-off cases carefully curated by the agency. The SEC should not be permitted to continue that
10   gambit here, and further calcify its capacious view of its own power. The Court should dismiss
11   the Amended Complaint.
12                                                 BACKGROUND
13           A.       Crypto and Blockchain Technology
14           Much of modern life happens online. When Fred wants to give Betsy $500, he does not
15   hand her cash; he pulls out his phone and “sends” the money. Most people “send” the money
16   through an intermediary—PayPal, Venmo, Zelle, etc. Those intermediaries are linked to Fred’s
17   bank account (or carry a balance for him) and they handle the details of getting Fred’s money to
18   Betsy. This basic dynamic is ubiquitous. Almost every financial transaction or data exchange is
19   executed via one of these intermediaries and thus depends on the intermediary being trustworthy.1
20           One of the key features of so-called “cryptocurrency” is that it can operate without these
21   middlemen. It is decentralized. The system runs on a diffuse network of different people, rather
22   than through a single intermediary that controls everything. The technology that makes this
23   possible is “blockchain” technology. At its essence, a blockchain is an encoded online ledger
24   that is viewable by all and that records all transactions on a given network.
25

26           1
               For a readable, comprehensive background on cryptocurrency, its function, and its history, see generally
     Matt Levine, The Crypto Story, BLOOMBERG BUSINESSWEEK, Oct. 31, 2022, https://tinyurl.com/ye4cfahf.
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 1          Returning to Fred and Betsy, suppose that instead of $500 in cash, Fred wanted to give
 2   Betsy one Bitcoin. Fred’s Bitcoin would be stored on a “wallet,” which is really just an
 3   identifiable address on the Bitcoin network. (The addresses are lengthy alphanumeric strings
 4   that look like this: 3J98t1WpEZ73CNmQviecrnyiWrnqRhWNLy. The addresses do not contain
 5   personal information, though some people publicly identify their Bitcoin addresses.) Because
 6   every Bitcoin transaction is verified and recorded by the decentralized Bitcoin network, the
 7   network will “know” how many Bitcoin are assigned to Fred’s wallet. If Fred wants to send one
 8   of his Bitcoins to Betsy, he simply enters her Bitcoin address into his wallet, which then
 9   broadcasts the transfer to the Bitcoin network.
10          That transaction is, in turn, bundled with other transactions into a group called a “block.”
11   Those blocks are then validated by computers that are part of the network—a process where
12   multiple computers otherwise unconnected from each other independently perform a checking-
13   function to reach a consensus on what transactions just occurred. Once the block is complete, it
14   is added to the end of the public ledger, creating an updated chain of blocks against which to
15   evaluate the next set of transactions. And anyone who cares to look would be able to see that
16   one Bitcoin moved from Fred’s Bitcoin address to Betsy’s Bitcoin address. Everything is public.
17          One of the most important issues in blockchain technology is inducing large numbers of
18   unrelated computer operators to verify transactions accurately. Instead of a trusted bank in the
19   middle of every transaction, there are thousands of diffused “validators” scattered across a
20   blockchain. (Bitcoin is the most famous blockchain network, but there are many others.) One
21   validation method is called “proof-of-work” wherein (to oversimplify a bit) validators run
22   specialized software to solve complex math problems and, in doing so, “confirm” that a particular
23   transaction is legitimate—e.g., that Fred really had a Bitcoin to send to Betsy. Whichever
24   computer solves the math problem and validates the transaction first receives a “reward” in the
25   form of “tokens” that are usually native to that particular blockchain network. (Validators on the
26   Bitcoin network earn Bitcoin.) The other validation method is called “proof-of-stake” where (to
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 1   oversimplify again) validators essentially post tokens as collateral when they validate
 2   transactions.    If the validator validates transactions accurately, the parties executing the
 3   transactions pay the validator a fee in tokens. (This is often called a “gas fee.”) If the validator
 4   validates transactions inaccurately, though, the validator risks losing some or all of its “stake.”
 5   For major blockchain networks, there are scores of validators. For instance, there are about a
 6   million global Bitcoin validators (commonly called “miners,” because validating transactions
 7   creates or “mines” Bitcoin that the validator then gets to keep).2
 8           This Motion turns principally on the legal status of nine tokens on the “Ethereum”
 9   blockchain.
10           B.       Platforms and Blockchain Protocols
11           Blockchain is a general technology and there are different “blockchain networks” (e.g.,
12   Bitcoin and Ethereum) upon which other programs are built. Blockchain networks are governed
13   by “blockchain protocols.” “Protocol” just means rules. So together, a “blockchain protocol”
14   represents the rules that govern how people interact on a “blockchain network” (i.e., a particular
15   blockchain ledger along with all of the people contributing to and using that ledger).
16           Take a (relatively) simple example. Under Bitcoin’s protocol, transactions are validated
17   using a proof-of-work consensus mechanism (lots of computers performing extremely complex
18   mathematical calculations). By contrast, for Ethereum, transactions are validated using a proof-
19   of-stake consensus mechanism (far fewer computers posting assets and then checking the
20   transaction at risk of forfeiting those assets).           Consensus mechanisms are just one way
21   “protocols” may differ. There are many others.
22           Developers who want to create “platforms” (i.e., crypto projects) using an existing
23   blockchain network have to decide which network to use. There are not very many popular
24   blockchain networks. But there are many platforms that are built on top of and incorporate those
25

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                See generally, e.g., Darren J. Sandler, Citrus Groves in the Cloud: Is Cryptocurrency Cloud Mining A
     Security?, 34 Santa Clara High Tech. L.J. 250, 253-63 (2018).
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 1   networks—akin to how “apps” on mobile phones are built on and use Apple’s iOS or Android.
 2   For instance, an online computer game may store its users’ essential data on a blockchain (e.g.,
 3   who has the most points) while using an ordinary cloud server to host its website (something like
 4   Amazon Web Services). Developers choose the best blockchain protocol for their projects.
 5          Platforms frequently incorporate “tokens.” There are many types of tokens. Some are
 6   “utility tokens,” which enable people to use a platform’s goods and services.           Some are
 7   “governance tokens” (which usually are also utility tokens), which give holders the ability to
 8   weigh in on how a platform operates, such as through voting. In all events, tokens are simply
 9   digital assets that serve some basic purpose on a given platform.
10          Here is one example. “Brave” is a privacy-focused web browser that shields users from
11   pop-up ads and tracking cookies. To compensate content creators and websites in the absence of
12   these traditional sources of revenue, the browser uses the “Basic Attention Token” (BAT).
13   People using Brave can earn BATs by choosing to watch certain ads that are accessible through
14   the browser. And then people can use their BATs to tip their favorite content creators. The value
15   of a BAT derives in part from the fact people can trade it over exchanges (more on that below).
16          As this example suggests, there are many ways people can get tokens—validating (i.e.,
17   confirming) transactions is not the only one. Sometimes, developers create tokens and distribute
18   them for free to promote broad adoption of the underlying platform. In other instances,
19   developers will sell pre-functional tokens to raise money for building a potential platform—a
20   process sometimes called an “initial coin offering” (or “ICO”). Moreover, developers will quite
21   often provide an incentive to productively use their platforms by rewarding users with tokens for
22   performing certain actions (e.g., choosing to watch ads on Brave).
23          As noted, this case principally involves nine tokens for nine platforms “built on top” of
24   the Ethereum network.      For reasons not relevant here, Ethereum is very popular among
25   developers because its protocol makes it easy for developers to create tokens for the platforms
26   that ultimately run on the Ethereum network. For instance, returning to Brave and Basic
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 1   Attention Tokens, if Tom wanted to send Jane 10 BATs because of her funny cat video, that
 2   transaction would be packaged into a block on the Ethereum network, and then confirmed by its
 3   validators, who in doing so confirm Tom had 10 BATs to give. The validators would earn a
 4   small amount of the token native to Ethereum, Ether, if they did their job correctly.
 5           Once launched, platforms running on blockchain networks are often decentralized (much
 6   like the networks themselves). In other words, no person or company controls their day-to-day
 7   operations. People can transact or interact directly with each other, without the involvement of
 8   the platform’s creator or any other intermediary. This is, to state the obvious, a very significant
 9   difference from traditional websites, platforms, and the like.
10           The Amended Complaint addresses nine tokens, some of which are primarily utility
11   tokens, others of which are primarily governance tokens, and some of which are both. The utility
12   tokens enable token-holders to partake in a platform’s goods and services ranging from receiving
13   discounts and earning transaction fees to obtaining geographic data location queries and trading
14   energy. E.g., Dkt. #27 (“Am. Compl.”) ¶¶ 106-22 (AMP), 146-55 (XYO), 172-79 (LCX), 180-
15   92 (POWR). The governance tokens allow users to vote on certain governance issues, like what
16   cryptocurrencies a platform will list or how certain funds should be allocated. E.g., id. ¶¶ 123-
17   31(RLY), 132-45 (DDX). But regardless of their exact form and function, none of these tokens
18   are securities.
19           According to the Amended Complaint, the developers behind these tokens distributed
20   them through a number of means. Some were sold by developers directly. E.g., id. ¶¶ 124 (RLY),
21   148 (XYO), 173 (LCX), 181 (POWR), 195 (DFX), 210 (KROM). Some were given to users as
22   rewards for performing certain functions on the platforms. E.g., id. ¶¶ 111 (AMP), 156 (RGT).
23   Others were allocated to the public to promote use of the platform. E.g., id. ¶ 135 (DDX). But
24   across the board, each token was designed to be used. None of the above tokens was created to
25   be a “share of” the platform or a pure passive investment therein.
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 1          C.      Digital Asset Exchanges
 2          As explained above, there are lots of ways to obtain a token from a crypto platform
 3   directly. Another way is to buy the token in a secondary market.
 4          “Exchanges” allow customers to buy, sell, and trade cryptocurrencies and other digital
 5   assets. Typically, they can swap one digital asset for another, or buy a digital asset with regular
 6   government-backed fiat currency. For instance, on Coinbase—the largest digital asset exchange
 7   in the United States, and Ishan Wahi’s former employer—users can (among other things) buy
 8   and sell tokens with ease from their phones, using the exchange’s mobile app.
 9          For present purposes, what matters is that when someone buys a token on an exchange,
10   there is no connection between the token-buyer and the token’s original developer. An exchange
11   simply matches buy offers with sell offers. In other words, unlike a developer selling tokens to
12   the public—a direct sales transaction between the developer and the token-buyers—an exchange
13   sale deals only with the underlying asset. When someone buys a standalone token on the
14   secondary market—like with Coinbase—that purchase does not create a direct relationship
15   between the token-holder and the token’s original developer.
16          D.      The SEC’s Action Against Ishan Wahi
17          In 2018, Coinbase hired Ishan Wahi as a manager in its Assets and Investing Products
18   Group. Am. Compl. ¶¶ 1, 27. As part of that job, Ishan Wahi was privy to Coinbase’s internal
19   deliberations about what tokens the company planned on listing on its exchange. Id. ¶¶ 30-31.
20          Once a token is listed on Coinbase, it can be bought, sold, and traded by the platform’s
21   98 million registered users. Id. ¶ 3. Thus, after a token is listed for purchase on Coinbase, the
22   token’s market value typically increases. See id.
23          The thrust of the SEC’s Amended Complaint is that Ishan Wahi used information he
24   gained at Coinbase to tip off his brother, Nikhil Wahi, and his college friend, Sameer Ramani,
25   about tokens that were about to be listed on Coinbase. Id. ¶¶ 6, 16-17, 100-01. The Amended
26   Complaint alleges that Nikhil and Sameer bought these tokens on other exchanges before
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 1   Coinbase announced it was going to list them, enabling them to acquire the tokens before their
 2   prices increased. See id. ¶¶ 43-45, 49-50, 55-57, 61-63, 68-72, 75-77, 83-85, 89-90. Nikhil and
 3   Sameer would then allegedly sell their tokens shortly after Coinbase made its announcements,
 4   keeping the differential in value. Id. ¶¶ 46, 51, 58, 73, 78, 86.
 5          These activities eventually caught the attention of Coinbase (and the SEC), leading to two
 6   parallel proceedings. The first is a criminal indictment against Ishan Wahi, Nikhil Wahi, and
 7   Sameer Ramani in the Southern District of New York, charging the three of them with wire fraud
 8   and wire fraud conspiracy on the theory that they fraudulently misappropriated Coinbase’s
 9   “property” in the form of inside knowledge concerning what tokens would be listed and when.
10   The second is this SEC action—filed on the same day at the other end of the country—against
11   Ishan, Nikhil, and Sameer for violating Section 10(b) of the Securities Exchange Act of 1934 and
12   Rule 10b-5.    Those provisions outlaw using “any manipulative or deceptive device” “in
13   connection with the purchase or sale of any security”—a prohibition that includes insider trading.
14   15 U.S.C. § 78j(b); 17 C.F.R. § 240.10b-5. According to the SEC, each of the nine tokens here
15   is a security because each constitutes an “investment contract.” See, e.g., 15 U.S.C. § 77b(a)(1);
16   Am. Compl. ¶ 25. The SEC does not ground its jurisdiction in any other provision.
17          Specifically, the SEC claims that these nine tokens are “investment contracts” because
18   (i) the tokens’ developers initially offered them “to raise money that would be used for [their]
19   business”; (ii) the developers made a series of public statements that each token’s value would
20   increase on account of the developer’s efforts; and (iii) the tokens are traded on secondary
21   markets. Am. Compl. ¶¶ 101-05. The SEC says each token is a “security” because each token’s
22   developers “invited people to invest on the promise” that the developers “would expend future
23   efforts to improve the value of their investment”—in this case, each purchased token. Id. ¶ 104.
24          But the SEC does not allege that any of the Defendants purchased any of the tokens at
25   issue from developers directly. To the contrary, the SEC alleges that the Defendants purchased
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 1   the tokens at issue on the secondary market years after these platforms were founded (and years
 2   after the lion’s share of statements referenced in the Amended Complaint were made).3
 3           Ishan Wahi’s former employer Coinbase—a publicly traded company headquartered in
 4   the United States—has maintained before, during, and after the alleged events at issue that it has
 5   never listed a federal security on its platform (including any of the tokens at issue here). See Paul
 6   Grewal, Coinbase Does Not List Securities. End of Story., Coinbase (July 21, 2022),
 7   https://tinyurl.com/3rph85vm. The SEC has not brought an action against Coinbase for being an
 8   unregistered exchange. Only Ishan Wahi, his kid brother, and his college friend have faced the
 9   SEC’s ire.
10                                       SUMMARY OF ARGUMENT
11           The SEC wants to broadly regulate digital assets. But rather than obtain such authority
12   from Congress, the SEC has sought to achieve it through the courts by way of this precedent-
13   setting action against Ishan and Nikhil Wahi. In so doing, the SEC seeks to distort the federal
14   securities laws beyond all recognition, and win for itself regulatory domain over an entirely new
15   industry. That gambit is an abuse of power. Federal law clearly forecloses it. And this Court
16   should reject it.
17           The essential legal premise of this action is that something can be an “investment
18   contract” without anything that resembles a contract. That is wrong, as statutory text, history,
19   and precedent all confirm. The very heart of an investment contract is—and always has been—
20   the coupling of an asset with a binding promise: The sale of land plus the promise to manage
21           3
                 Compare Am. Compl. ¶¶ 43-44 (AMP purchases in June 2021), with 109 (Flexa founded in 2018), 109
22   (initial token offerings between February 2019 and April 2019); 115 (token’s “white paper” published in 2019);
     compare ¶¶ 48-52 (RLY purchased in July 2021), with 123 (Rally founded in 2018), 124 (initial token offerings
     from December 2020 to March 2021); compare ¶¶ 53-59 (DDX purchased in August 2021), with 135 (initial token
23   offering in July 2020); compare ¶¶ 61-66 (XYO purchased in September 2021), with 146 (XY founded in 2012),
     148 (initial token offering from March to May 2018), 149-51 (token’s “white paper” and posts in 2018 and 2019);
24   compare ¶¶ 67-73 (RGT purchased in September 2021), with 157 (initial token offering in July 2020), 160 (citing
     statements from “late 2020 and early 2021”); compare ¶¶ 74-79 (LCX purchased in October 2021), with 173 (initial
25   token offering in September 2019); compare ¶¶ 80-87 (POWR purchased in November 2021), with 180-181 (initial
     token offerings in August and September 2017), 183 (token’s “white paper” published in 2017); compare ¶¶ 88-92
26   (DFX purchased in April 2022), with 196 (initial token offering in February 2021); compare ¶¶ 88-92 (KROM
     purchased in April 2022), with 210 (initial token offering in November 2021).
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 1   orange groves on it; the sale of beavers plus the promise to raise them for fur; the sale of vineyards
 2   plus the promise to develop wine. But here, there is nothing of the sort. Each token at issue was
 3   sold on the secondary market; each transaction was between a buyer and some third-party seller.
 4   For tokens sold on exchanges, there is no contractual relationship between token-holders and
 5   developers, and there are thus no binding promises running from the developers to the token-
 6   holders. There is just a naked asset sale. And such a sale—decoupled from any post-sale
 7   promises on the part of any developer—has never once constituted an “investment contract.”
 8          The Major Questions Doctrine along with basic principles of fair notice underscore what
 9   text, history, and precedent already make plain. The SEC may not use the phrase “investment
10   contract” as a blank check to cash whenever it seeks to expand its regulatory ambit. And it may
11   not lay claim over the novel and far-reaching digital asset industry without clear congressional
12   authorization. At the least, whatever the federal securities laws provide, they do not provide that.
13          But even setting all that aside, as described below, the SEC cannot prevail even under its
14   own framework—a cribbed and literalistic reading of the Supreme Court’s decision in Howey,
15   328 U.S. 293. As the SEC would have it, there is an “investment contract” whenever a person is
16   “led to invest money in a common enterprise with the expectation that they would earn a profit
17   solely through the efforts of the promoter or of some one other than themselves.” Id. at 298. But
18   here, there is no investment of money in anything; again, the only transactions at issue involve
19   tokens sold on the secondary market, where money passes from buyer to third-party seller. And
20   in any event, there is no “common enterprise” at all. Namely, token-holders are not part of the
21   same profit-seeking venture with other token-holders or the original developers; rather, they are
22   simply asset holders, whose financial fortunes turn on their own decisions about buying and
23   selling. Moreover, on the Amended Complaint’s own terms, the values of the tokens at issue
24   derive mostly from market forces, not managerial efforts (the last part of Howey). After all, the
25   SEC’s entire theory of the case is that the Defendants here allegedly front-ran the tokens being
26   listed (and how the market would then react)—not the announcement of any new policy or
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 1   managerial initiative.
 2          The SEC’s attempt to reinvent the term “investment contract” will have implications far
 3   beyond this case. In addition to holding Ishan and Nikhil Wahi liable for actions nobody could
 4   have anticipated would violate the securities laws—indeed, even Ishan’s publicly traded
 5   employer was convinced these tokens were not securities—it would establish sweeping SEC
 6   jurisdiction over an industry without any input from Congress. And it would, in so doing, subject
 7   an industry with tremendous potential to a regulatory apparatus that is an exceedingly poor fit
 8   for it. The securities laws exist to protect people with direct passive investments in ongoing
 9   enterprises—not to set the ground rules for blockchain technology, platforms built atop it, utility
10   tokens, nonfungible tokens, decentralized autonomous organizations, or any of the myriad square
11   pegs the SEC has tried to jam into this round hole.
12          There is also no need to stretch securities laws into the digital asset space, as excluding
13   tokens from the SEC’s regulatory jurisdiction does not mean digital frauds and abuses will go
14   unregulated. Countless other regulators already assert that digital assets are subject to the myriad
15   financial regulations that prevent fraud and manipulation in traditional financial markets. And
16   in addition, Congress and state legislatures are actively debating (and enacting) digital asset
17   regulations that are properly tailored to the unique features of this cutting-edge technology.
18          Finally, the Amended Complaint does not adequately allege scienter. Scienter is a core
19   protection in our justice system that ensures only the culpable are punished. As it stands, the
20   SEC has not met its burden on this basic element. It is both unlawful and deeply unfair to punish
21   Ishan and Nikhil Wahi for federal securities fraud when all available guidance—including
22   Coinbase’s elaborate, SEC-approved internal review process—indicated that these tokens are not
23   securities. Nothing in the Amended Complaint demonstrates knowing, willful, or even reckless
24   violation of the federal securities laws.
25          In short, the SEC’s attempt to radically expand its regulatory jurisdiction on the backs of
26   Ishan and Nikhil Wahi is unlawful, and there is no reason for this Court to countenance the
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 1   agency’s zealous attempt at a power grab. Rather, the Court should dismiss the Amended
 2   Complaint.
 3                                         LEGAL STANDARD
 4          An Amended Complaint must contain “enough facts to state a claim to relief that is
 5   plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). Dismissal under
 6   Rule 12(b)(6) may be based on “the lack of a cognizable legal theory or the absence of sufficient
 7   facts alleged under a cognizable legal theory.” Godecke v. Kinetic Concepts, Inc., 937 F.3d 1201,
 8   1208 (9th Cir. 2019). A pleading that offers only “labels and conclusions” or “a formulaic
 9   recitation of the elements of a cause of action will not do.” Ashcroft v. Iqbal, 556 U.S. 662, 678
10   (2009). In addition, the Court is not “required to accept as true allegations that are merely
11   conclusory, unwarranted deductions of fact, or unreasonable inferences.” Sprewell v. Golden
12   State Warriors, 266 F.3d 979, 988 (9th Cir. 2001). And “[m]ere legal conclusions are not entitled
13   to the assumption of truth.” Dougherty v. City of Covina, 654 F.3d 892, 897 (9th Cir. 2011).
14                                             ARGUMENT
15   I.     THE TOKENS ARE NOT “INVESTMENTS CONTRACTS” UNDER THE SECURITIES LAWS.
16          The term “investment contract” has a long history. Even before the federal securities
17   laws—which themselves date to the Great Depression—the phrase “investment contract” was a
18   term of art for financial dealings that differed in some way from traditional securities (like stocks
19   and bonds), but that still had the essential “characteristics of a security.” Int’l Bhd. of Teamsters
20   v. Daniel, 439 U.S. 551, 559 (1979). In the main, “investment contracts” cover business ventures
21   that involve the sale of some asset (like land or an oil lease) coupled with certain legally binding
22   promises by the seller to manage or develop that asset in a profitable manner. Canonical
23   examples include one-off enterprises like a businessman selling tracts of land upon which he
24   promises to maintain a range of profitable orange groves, Howey, 328 U.S. at 299, or beaver-
25   breeders who sell beavers along with a promise to raise the animals for later sale at a profit,
26   Continental Marketing Corp. v. SEC, 387 F.2d 466, 468-71 (10th Cir. 1967).
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 1          Such ventures vary in the details, but the term “investment contract” has always carried
 2   certain core traits—most obvious, a contract, and one that captures the post-sale promises that
 3   transform an asset sale into something more. In using the phrase “investment contract,” Congress
 4   codified the term’s traditional definition into the federal securities laws. Howey, 328 U.S. at 298.
 5          In its desire to seize regulatory control of an enormous (and enormously complex) new
 6   industry, the SEC asks this Court to cast all that aside. Rather than confine itself to the authority
 7   Congress long ago conferred, the SEC asks this Court to substantially expand its regulatory
 8   domain by declaring that at least nine different tokens constitute “investment contracts.” The
 9   SEC is wrong—and the implications of its position extend well beyond the circumstances here.
10   The nine tokens at issue are no more securities than are baseball cards, beanie babies, gold
11   doubloons, the beavers from Continental Marketing, or the oranges from Howey. This Court
12   should turn back the SEC’s campaign to recast this long-settled term and, in so doing, dismiss its
13   Amended Complaint.
14          A.      The Term “Investment Contract” Had a Settled Meaning in 1933 That
15                  Congress “Crystallized” Within the Securities Laws.
16          The federal securities laws do not specifically define the term “investment contract.” The
17   term should accordingly be given its “ordinary meaning at the time Congress enacted the statute.”
18   New Prime Inc. v. Oliveira, 139 S. Ct. 532, 539 (2019) (quotation marks and alterations omitted).
19          When Congress passed the Securities Act of 1933 and the Exchange Act of 1934 (both
20   of which use “investment contract” as part of their near-identical definitions of “security”),
21   “investment contract” was a settled term of art from state “blue sky” laws (i.e., state securities
22   laws). And “when Congress employs a term of art, it presumably knows and adopts the cluster
23   of ideas that were attached to each borrowed word.” FAA v. Cooper, 566 U.S. 284, 292 (2012)
24   (quotation marks omitted). The federal securities laws are no exception. As the Supreme Court
25   held in Howey, Congress incorporated into the securities laws the definition of “investment
26   contract” that had “crystallized” in the states. 328 U.S. at 298. The Ninth Circuit has confirmed
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 1   as much, reaffirming that “the term ‘investment contract’ retains the same meaning it possessed
 2   under predating state ‘blue sky’ laws.” SEC v. Rubera, 350 F.3d 1084, 1090 (9th Cir. 2003).
 3          The definition of “investment contract” under predating state “‘blue sky’ laws,” Howey,
 4   328 U.S. at 298, had several “essential ingredients,” id. at 301. Chief among them: An
 5   “investment contract” required a contract (written or implicit) that imposed post-sale obligations
 6   on the promoter, and also gave the investor a right to receive profits from the promoter’s venture.
 7                    1.    The phrase “investment contract” is a term of art derived from state
 8                          “blue sky” laws.
 9          At the turn of the twentieth century, the American economy was booming, and
10   entrepreneurs increasingly sought to capitalize on that boom by hawking investment
11   opportunities to members of the country’s burgeoning middle class. See Jonathan R. Macey &
12   Geoffrey P. Miller, Origin of the Blue Sky Laws, 70 Tex. L. Rev. 347, 355 (1991). Many of these
13   schemes were genuine; but many were not. Some ultimately promised nothing more than “so
14   many feet of blue sky.” State v. Gopher Tire & Rubber Co., 146 Minn. 52, 55 (1920). And in
15   response to this problematic trend, the states started to adopt new securities laws that were
16   designed “to put a stop to the sale of shares in visionary oil wells, nonexistent gold mines, and
17   other ‘get-rich-quick’ schemes calculated to despoil credulous individuals of their savings.” Id.
18          By 1930, all but two states had adopted some version of a “blue sky” law. See Note,
19   Legislation: Uniform Sale of Securities Act, 30 Colum. L. Rev. 1184, 1189 (1930). And
20   following Minnesota’s lead, these blue sky laws predominantly defined a “security” to include
21   “investment contracts.” Note, Pension Plans as “Investment Contracts,” 96 U. Pa. L. Rev. 553,
22   553 (1948). Indeed, when legislators set out to create a uniform state securities code distilled
23   from existing laws, “investment contract” was part of its consensus definition of “security.”
24   Handbook, Proceedings of the National Conference of Commissioners on Uniform State Laws,
25   at 173 (1929).
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 1           Much as Minnesota was the first state to use the term “investment contract,” its courts
 2   took the lead in explicating its meaning. At its essence, an “investment contract” was the
 3   “equivalen[t]” of a “contract which is an investment.” Pension Plans, supra, at 553 (citing State
 4   v. Evans, 154 Minn. 95 (1922); Gopher Tire, 146 Minn. 52). As the Minnesota Supreme Court
 5   explained in more detail, “[t]he placing of capital or laying out of money in a way intended to
 6   secure income or profit from its employment is an investment as that word is commonly used and
 7   understood.” Gopher Tire, 146 Minn. at 56 (emphasis added). And when that investment is
 8   folded into some kind of contractual relationship, an “investment contract” is then born. Evans,
 9   154 Minn. at 99.
10           “This definition was uniformly applied by state courts to a variety of situations where
11   individuals were led to invest money in a common enterprise with the expectation that they would
12   earn a profit solely through the efforts of the promoter or of some one other than themselves.”
13   Howey, 328 U.S. at 298 & n.4 (collecting cases); see also, e.g., People v. White, 124 Cal. App.
14   548, 554-55 (1932) (relying on Gopher Tire); Stevens v. Liberty Packing Corp., 111 N.J. Eq. 61,
15   65 (1932) (same); Lewis v. Creasey Corp., 248 S.W. 1046, 1049 (Ky. 1923) (same). As such,
16   when Congress set out to create its own securities law regime, “investment contract” was thus a
17   clear term of art.
18                   2.     Congress incorporated that term of art into the securities laws.
19           Following the stock market crash of 1929, Congress began work on a “Federal blue sky
20   law.” Remarks by Senator William H. King, 77 Cong. Rec. 2992 (May 8, 1933). That effort
21   culminated in the Securities Act of 1933, which incorporated verbatim the definition of “security”
22   that the National Conference of Commissioners on Uniform State Laws had adopted some years
23   prior when drafting its uniform state securities code. That definition, again, included “investment
24   contracts.” Pension Plans, supra, at 553. (As does the Exchange Act’s definition of “security,”
25   enacted one year later.)
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 1          There is no doubt Congress sought to incorporate the existing definition of “investment
 2   contract” into the federal securities laws. As the Howey Court reasoned, “investment contract”
 3   had a “common” and “uniformly applied” definition at the time. 328 U.S. at 298. And by
 4   “including an investment contract” within the federal securities laws, Congress “crystallized”
 5   that definition within federal law. Id.; see also SEC v. Edwards, 540 U.S. 389, 395 (2004)
 6   (reiterating importance of state “blue sky law cases”). As the SEC itself explained in Howey:
 7   “Congress must be deemed to have intended also to adopt that construction of the term which
 8   was uniformly followed by the state courts.” Supreme Court Br. for Securities and Exchange
 9   Commission at 18, Howey, 328 U.S. 293 (No. 843) [hereinafter, “Br. for SEC”].
10                  3.      The traditional definition of “investment contract” has several
11                          “essential ingredients.”
12          “When a statutory term is obviously transplanted from another legal source, it brings the
13   old soil with it.” Taggart v. Lorenzen, 139 S. Ct. 1795, 1801 (2019) (quotation marks omitted).
14   Here, that “old soil” includes at least three fundamental characteristics that were “the essential
15   ingredients of an investment contract.” Howey, 328 U.S. at 301. For an “investment contract”
16   to exist, there must be (i) a contract, that (ii) imposes post-sale obligations on the promoter,
17   among which include (iii) giving the investor a legal entitlement to share in the venture’s profits.
18          Before Howey, no state decision had ever found an “investment contract” without these
19   three characteristics. See, e.g., Howey, 328 U.S. at 298 n.4 (collecting cases). Same for the lower
20   federal courts. See, e.g., id. at 299 n.5 (same). And in the many decades since Howey, neither
21   the Supreme Court nor the Ninth Circuit has departed from that unbroken practice. Indeed, when
22   pressed with this argument in the Southern District of New York, the SEC came up empty—
23   unable to cite any genuine example of any court at any time finding an “investment contract”
24   where the instrument did not have these fundamental threshold characteristics. Compare
25   Defendants’ Memorandum of Law in Support of Their Motion for Summary Judgment at 19-21,
26   SEC v. Ripple Labs, Inc., No. 20-cv-10832 (S.D.N.Y. Sept. 17, 2022) [hereinafter Ripple Summ.
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 1   J. Mot.], with Plaintiff Securities and Exchange Commission’s Memorandum of Law in
 2   Opposition to Defendants’ Motion for Summary Judgment at 19-21, Ripple Labs, No. 20-cv-
 3   10832 (S.D.N.Y. Oct. 21, 2022) [hereinafter SEC Summ. J. Opp’n in Ripple]; see also infra note
 4   12.
 5                          (a)     A Contract
 6          Most obvious, an “investment contract” requires a “contract”—specifically, a contract
 7   between the investor and the promoter. The SEC itself has historically recognized as much,
 8   explaining to the Supreme Court in Howey that an “investment contract” is a “contractual
 9   arrangement” that possesses certain additional characteristics. Br. for SEC, supra, at 9. Or as
10   one state court put it on the eve of Congress enacting the Securities Act: “The term [investment
11   contract] is not defined in the act, but it implies the apprehension of an investment as well as of
12   a contract.” State v. Heath, 153 S.E. 855, 857 (N.C. 1930). Indeed, state courts evaluating
13   whether a given venture amounted to an “investment contract” often followed a two-step process,
14   first identifying whether there was a contract at all, and only then turning to whether it had the
15   other necessary traits. See, e.g., Klatt v. Guaranteed Bond Co., 250 N.W. 825, 829 (Wis. 1933).
16          Counsel has thus far found no example of any state blue sky case finding an “investment
17   contract” in the absence of any contract whatsoever. In fact, counsel has not found any example
18   of someone even being accused of illegally dealing in an “investment contract” where there was
19   not any contractual relationship (written or implicit) between the promoter and the investor at all.
20                          (b)     Post-Sale Obligations
21          Nor can just any contract constitute an “investment contract.” As touched on above, an
22   “investment contract” is an asset sale coupled with legally binding promises by the promoter to
23   manage or develop that asset in a profitable way. See, e.g., State v. Robbins, 185 Minn. 202,
24   204-05 (1932) (sale of muskrat breeding pairs plus promise to rear pairs until later sold for fur);
25   Prohaska v. Hemmer-Miller Dev. Co., 256 Ill. App. 331, 334-35 (1930) (sale of land plus promise
26   to harvest crops on it); Kerst v. Nelson, 171 Minn. 191, 193-95 (1927) (sale of land plus promise
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 1   to cultivate vineyard, harvest crops, and market wine).                     Without binding post-sale legal
 2   obligations, there is just an asset sale. It is not a muskrat investment; it is a muskrat simpliciter.
 3            In the years before the federal securities laws, state courts consistently treated the absence
 4   of such binding post-sale obligations as dispositive. In Lewis v. Creasey Corp., for instance, a
 5   wholesale grocery distributor gave a local supermarket the right to purchase groceries at a
 6   discount in exchange for a $300 deposit. 248 S.W. 1046, 1047 (Ky. Ct. App. 1923). The court
 7   held this contractual arrangement was not an investment contract because there were no post-sale
 8   obligations on the part of the distributor to use the supermarket’s money “in such a manner as to
 9   reap a profit to the [investor].” Id. at 1049. Rather, the deal was simply a one-off payment for a
10   discount. And the term “investment contract” did not extend to “contracts [only] containing
11   mutual obligations, such as are daily entered into commercial life, and from which a profit can
12   only be reaped by the uses which the investor alone makes of them.” Id. Otherwise, the term
13   “investment contract” could be manipulated to extend to all “exchange[s] of commodities” and
14   “all [other] sorts and kinds of contracts,” contrary to the phrase’s well-established meaning. Id.
15            The requirement of post-sale obligations for an “investment contract” runs throughout the
16   state blue sky cases. See, e.g., McCormick v. Shively, 267 Ill. App. 99, 103-04 (1932) (no
17   investment contract where land sale involved “no obligation [by promoter] . . . to do anything
18   other than to deliver a deed upon the payment of the purchase price); Hanneman v. Gratz, 170
19   Minn. 38, 41-42 (1927) (same where scheme only involved “purchase of lands”); Creasey Corp.
20   v. Enz Bros. Co., 187 N.W. 666, 667 (Wis. 1922) (holding same grocery contract as above not a
21   security). Here too, counsel has not come across a single counter-example in any blue sky case.4
22
              4
                See also, e.g., People v. White, 124 Cal. App. 548, 550, 554-56 (1932) (investment contract where seller
23   promised to re-invest the funds and return $7,500); State v. Robbins, 240 N.W. 456, 457 (Minn. 1932) (investment
     contract where, in addition to sale contract for fox breeding trios, buyers would enter into a breeding contract where
24   the company would “feed, breed, care for, pelt, and generally supervise and manage the animals to the best interest
     of the purchaser”); Prohaska, 256 Ill. App. at 338 (investment contract where promoter was obligated to “break,
25   seed, cut and thresh” the crops on the sold land); Kerst, 171 Minn. at 194 (investment contract where seller of
     vineyard retained “exclusive control and management of planting, cultivating, and caring for the land”); State v.
26   Bushard, 205 N.W. 370 (Minn. 1925) (investment contract where, as part of a bus-operator agreement, company
     agreed to pay for part of the bus, the bus’s maintenance and operating expenses, and indemnify the bus operator).
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 1                              (c)      Right to Share Profits
 2            Finally, an “investment contract” must give the investor a right to share in the venture’s
 3   profits. To borrow again from Lewis, an “investment contract” is a contractual scheme where “a
 4   profit is promised and expected without any active efforts on the part of the investor.” 248 S.W.
 5   at 1049. Or as the Minnesota Supreme Court put it, an “investment contract[]” is a contract that
 6   by definition “entitl[es] the investor to participate in a profit-sharing scheme.” Kerst, 171 Minn.
 7   at 196; see also Evans, 154 Minn. at 99 (“[I]f the defendant issued and sold its certificates to
 8   purchasers who paid their money justly expecting to receive an income or profit from the
 9   investment, such certificates might properly be regarded as investment contracts[.]”).
10            As above, the absence of an entitlement to profit sharing has always been dispositive. In
11   Enz Bros., for example, the Wisconsin Supreme Court held that a contractual arrangement was
12   not a security because the investor “acquired no rights either in the capital or profits of the
13   company.” 187 N.W. at 667. And here too, counsel has not come across a single example where
14   a court found an “investment contract” without this basic characteristic in any blue sky case.5
15                                                         ***
16            When Congress passed the federal securities laws, it quite purposefully used a term of art
17   that had a well-established meaning. In that light, then as now, the definition of “investment
18   contract” is (i) a contract, that (ii) imposes post-sale obligations on the promoter, among which
19   include (iii) giving the investor a legal entitlement to share in the business venture’s profits.
20            B.       None of the Tokens at Issue Fits the Traditional Definition of an “Investment
21                     Contract.”
22            The nine tokens underlying the SEC’s suit uniformly fail this test. The SEC does not—
23   and cannot—allege that the tokens involve contracts among developers and token-holders. In
24
              5
                  See, e.g., People v. Claggett, 19 P.2d 805, 805 (Cal. Ct. App. 1933) (promising “one-twentieth interest
25   in all of the gold and other values” recovered from a gold mine, “after operating expenses have been paid”); Stevens
     v. Liberty Packing Corp., 111 N.J. Eq. 61, 61-65 (1932) (promising $1 per offspring in a rabbit-breeding contract);
26   State v. Ogden, 191 N.W. 916, 917 (Minn. 1923) (promising to pay holders of fractional oil leases profits from oil
     drilling “in proportion to their holdings”).
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 1   fact, the tokens impose no legal obligations on their developers after the time of sale. And they
 2   carry no legal entitlement to share in the developers’ profits. In no sense are these nine tokens
 3   securities under the “uniformly applied” definition of “investment contract” Congress
 4   “crystallized” into the securities laws. Howey, 328 U.S. at 298.
 5                  1.      None of the tokens involves a contract between the developers and the
 6                          token-holder.
 7          Foremost, there is no “contract” here that could give rise to an “investment contract.”
 8          The Amended Complaint concedes that the tokens at issue were purchased in secondary
 9   markets through an exchange. See, e.g., Am. Compl. ¶ 7. But when a token is sold on an
10   exchange, there is (by definition) no contract between the buyer and the promoter. See, e.g.,
11   Michael J. O’Connor, Overreaching Its Mandate? Considering the SEC’s Authority to Regulate
12   Cryptocurrency Exchanges, 11 Drexel L. Rev. 539, 582-83 (2019). Secondary sales are one-off
13   transactions between someone who owns the token and someone else who buys the token,
14   facilitated through blind bids done with an exchange. The token’s original developer is not a
15   party to the transaction, and does not enter any contract in connection with it. That is dispositive.
16          In other cases, the SEC has taken the contrary view that if the tokens were initially
17   distributed by way of an investment contract—say, through an ICO where investors bought
18   tokens from the developers directly—then the tokens are securities for time immemorial. But
19   even assuming the premise of that argument is right, the SEC nonetheless conflates here the
20   investment arrangement with the specific object that underlies it. Suppose investors agreed to
21   give Mr. Howey money in exchange for him periodically sending them bushels of oranges from
22   the groves he promised to manage. That agreement is certainly a contract and may—depending
23   on the details—be an “investment contract.” But even if that arrangement were an “investment
24   contract,” the items exchanged pursuant to it—the oranges—would not constitute federal
25   securities, because they carry with them no enforceable rights and obligations running from the
26   orange-holder back to Mr. Howey. Put differently, if Mr. Howey’s investors decided to resell
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 1   those oranges at a farmers’ market, nobody would think they had engaged in some unregistered
 2   securities offering.
 3           In all material respects, that is the fact pattern here. Even if the initial sale of the relevant
 4   tokens by their developers could have been deemed an investment contract—a possibility on
 5   which the Defendants take no position—the tokens themselves were not. The resold oranges are
 6   not securities for the simple reason that they carry with them no contractual relationship between
 7   the orange-buyer and Mr. Howey. The resold tokens are no different; they lack any contractual
 8   relationship connecting the buyer and the promoter. At bottom, there is a fundamental difference
 9   between an investment transaction (which may give rise to an “investment contract”) and that
10   transaction’s underlying asset (which cannot). Here, there is only the latter; a bushel of oranges.
11                   2.      None of the tokens comes with post-sale obligations on the part of the
12                           developers.
13           Next, none of the tokens imposes post-sale legal obligations on the developers for the
14   benefit of token-holders. To be sure, the Amended Complaint alleges that the developers of the
15   tokens here made public declarations about how they intended to develop their platforms and
16   protocols, and how token-holders would likely be able to turn a profit by flipping tokens on
17   secondary exchanges. See, e.g., Am. Compl. ¶¶ 117-21 (AMP); 126-27 (RLY); 141 (DDX); 149-
18   52 (XYO); 160-65 (RGT); 176-78 (LCX); 183-86 (POWR); 201-02 (DFX); 213-14 (KROM). It
19   alleges, for example, that the developers behind the XYO Network publicized a “‘Roadmap’ with
20   target dates for [their] plans to develop the business,” and touted “opportunities for profit from
21   XYO, including . . . the availability of secondary markets.” Id. ¶¶ 149, 151. But that is not
22   sufficient.
23           Public declarations by token developers about the software they hope to create do not
24   create post-sale legal obligations, and cannot convert tokens sold on secondary markets into
25   investment contracts. Indeed, suppose Mr. Howey adopted a “roadmap” with a plan to heavily
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 1   market his oranges nationwide, thereby boosting their price. Nobody would say that pledge
 2   transforms the oranges into securities, or the above farmers’ market into an unlawful exchange.
 3            This is all because there is no “investment contract” absent a binding promise running
 4   from the developer to the token-holder. To continue the analogy to Howey, if Mr. Howey had
 5   suddenly stopped working on his orange groves, his investors could have sued him for breach of
 6   contract. That is because Mr. Howey had entered into an agreement with investors that imposed
 7   binding post-sale obligations on him. But what if the developers behind the XYO Network
 8   decided to depart from their “roadmap”? Someone who had later bought XYO tokens on an
 9   exchange in hopes that the developers would execute their roadmap would have no legal recourse
10   because they have no contractual relationship with the developers. Importantly, transferring a
11   token to a third-party is not like assigning a contract; tokens do not inherently confer any legal
12   rights upon the token-holder that are enforceable against the developer (and the SEC alleges
13   nothing to the contrary for the tokens at issue here).6 Transferring a token is instead like selling
14   a beanie baby—an asset that can either be played with or stored as an investment, but one that
15   innately carries none of the obligations and rights that were part of any original transaction. Of
16   course, a token-holder may expect their tokens will “appreciat[e]” due to their “proximity” to the
17   developers’ efforts—but that is not enough without an actual obligation on the developers to
18   follow through. De Luz Ranchos Inv. Ltd. v. Coldwell Banker & Co., 608 F.2d 1297, 1301 (9th
19   Cir. 1979); see also, e.g., Rodriguez v. Banko Cent. Corp., 990 F.2d 7, 11 (1st Cir. 1993) (sellers’
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                 The Amended Complaint does not allege that the four so-called governance tokens—RLY, DDX, RGT,
23   and DFX—provide any legal rights enforceable against the developer. At most, the SEC alleges that the tokens
     provide users with the limited technological ability to participate in how the platform prioritizes funding or lists
24   cryptocurrency. E.g., Am. Compl. ¶¶ 123 (RLY token-holders can “propose changes” to Rally community); 164
     (RGT token-holders can vote on allocation of tokens on the Rari platform); id. ¶ 205 (DFX token-holders can “can
25   vote on the crypto assets to be included for exchange in the protocol”). But giving technology users functional
     tools—no different from enabling social media users to increase visibility of posts by “liking” them or providing
26   tools to edit Wikipedia pages—is fundamentally different from those companies shouldering a legal obligation to
     do anything on behalf of users.
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 1   “strong and repeated suggestions” land would be developed did not create security without actual
 2   obligation to develop); Woodward v. Terracor, 574 F.2d 1023, 1026 (10th Cir. 1978) (similar).7
 3           To that end, not every promotion creates a binding promise running to all asset-holders.
 4   Consider a baseball player who sells autographs while telling buyers he plans to hit more home
 5   runs. Or the musician who sells branded sneakers while promising to put out more hit albums.
 6   Or a bit on the nose, an entrepreneur who sells physical tokens as commemorative coins while
 7   stressing he will try to get celebrities to endorse them, thereby bumping their market value. In
 8   all of these examples, buyers—whether directly or on the secondary market—might expect their
 9   purchases to appreciate in value: homers drive autograph prices, platinum records boost the
10   demand for merchandise, and celebrity endorsements enhance market value. But none of these
11   examples features “actual commitments” on the part of the seller to the buyer of the asset that
12   could transform the asset into a security. Happy Inv. Grp. v. Lakeworld Props., Inc., 396 F. Supp.
13   175, 181 (N.D. Cal. 1975). In each instance, the ballplayer, musician, or coin peddler is free to
14   sell the relevant asset and then quit the business. And without a real “obligation” to “develop,
15   improve, or manage” the underlying asset later on, there is no “investment contract.” De Luz
16   Ranchos, 608 F.2d at 1301.
17                    3.       None of the tokens furnishes a legal right to share in profits.
18           Finally, none of the relevant tokens comes with a legal right for token-holders to share in
19   their respective ventures’ profits. Again, there is a difference between being able to profit from
20   the re-sale of an asset (e.g., an orange), and having an entitlement to share in the profits from a
21   business venture (e.g., an orange grove). The latter can give rise to a security; the former cannot.
22           7
                 What is true for XYO tokens holds true for the whole batch. For instance, comments from the DerivaDEX
     CEO discussing “development plans” that included a new “feature” would not provide a DDX token-holder a right
23   to sue if that feature was not integrated into the platform. See Am. Compl. ¶ 143. So too for the vague intentions
     expressed by Rari’s founders that they would, among other things, “create a strong ecosystem around the Rari
24   Protocol,” to “avoid RGT ‘price dilution,’” and “invest the protocol’s holdings in an intelligent way.” Id. ¶ 164.
     Likewise for LCX’s aspirational statements to become a “new category leader in the blockchain industry,” “revamp”
25   its trading platform, and challenge mainstream financial firms like Goldman Sachs, id. ¶ 179, or Power’s abstract
     goal of creating an “attractive” trading environment for POWR tokens, id. ¶ 181. Across the board, none of these
26   sorts of statements, nor any other statement proffered by the SEC, create a binding post-sale obligation running to
     token-holders.
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 1          None of the tokens here comes with a legal entitlement to share in the platform’s profits.
 2   At most, for a handful of tokens, the Amended Complaint alleges token-holders can “share in the
 3   profits” if they help “stake” the token on its given network. Am. Compl. ¶ 103; see also, e.g., id.
 4   ¶¶ 140 (DDX), 197 (DFX), 214 (KROM). But this is different in kind. “Staking” is when
 5   someone locks up some of their tokens to help support the operation of a platform in exchange
 6   for a certain yield or percentage of a transaction fee. (Conceptually, it is not all too different
 7   from putting money in a high-yield savings account at a bank and receiving interest payments in
 8   return.) The key point, though, is that staking is optional. And the option to make money with
 9   tokens by staking them does not convert the tokens themselves into an entitlement to share in the
10   venture’s profits. Rather, it is like having the option of picking Mr. Howey’s oranges for a wage.
11          For two of the tokens, the Amended Complaint hints that they come with the right to
12   share in their ventures’ profits, akin to a dividend. Of course, having one of the three essential
13   traits of an “investment contract” is not enough. But even still, the Amended Complaint is
14   deficient. For RGT, the Amended Complaint says the developers “suggested RGT buyers may
15   eventually earn dividends.” Id. ¶ 164 (emphases added). And for POWR, the Amended
16   Complaint alleges that on a Reddit thread once, the developers said that token-holders would be
17   able to “receive a portion of revenue.” Id. ¶ 184. But the SEC conspicuously avoids alleging
18   that RGT or POWR token-holders actually have any right—legally enforceable or by operation
19   of the underlying code—to share in the ventures’ profits. And that silence is telling, given that
20   such information is by no means a secret: Both tokens are now on the market, and have been
21   sold on a number of exchanges. Id. ¶¶ 171, 190.
22          C.      Following the Traditional Definition of “Investment Contract” Makes Sense.
23          Rejecting the SEC’s claim that the tokens at issue are all “investment contracts” also
24   makes good sense. The purpose of the securities laws (as opposed to laws regulating other asset
25   classes like commodities) is to ensure that investors can make informed judgments before
26   investing money in an ongoing enterprise. So for instance, when an investor buys a stock (i.e.,
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 1   an ownership share of a company run by professional managers), it makes sense to require the
 2   company to provide extensive disclosures concerning the company’s financial condition. The
 3   investor needs to understand the condition of the ongoing enterprise that he or she is buying into.
 4             The disclosure requirements for “investment contracts” serve the same basic purpose.
 5   Individuals who enter investment contracts are effectively purchasing a stake in an ongoing
 6   enterprise—raising muskrats for future sale, growing oranges for future harvesting, developing
 7   land for future winemaking. These investors are not purchasing an equity stake in an enterprise
 8   managed by corporate executives, but they are investing in an ongoing enterprise that someone
 9   else will manage. It makes sense to require detailed disclosures about that enterprise up front.
10             These disclosures make no sense, however, when there is not an ongoing legal
11   relationship between purchaser and promoter. When the investor is really just a purchaser buying
12   an asset—a token, an orange, a baseball card, a sneaker, or a commemorative coin—the person
13   has no ongoing legal claim to the promoter’s efforts (particularly where, as here, the purchase is
14   in a secondary market). The seller’s business operations, risk factors, management, audited
15   financial statements, and the like are beside the point because the purchaser is not investing in
16   the seller—the purchaser is merely buying its asset. To be sure, the purchaser might hope that
17   the asset goes up in value based on the seller’s future behavior; and the seller might encourage
18   people to buy the product by touting plans to enhance its value. But when the transaction does
19   not include ongoing legal obligations, the buyer is not investing in the seller, has no claim over
20   the seller’s future actions, and thus has no need to know detailed information about the seller’s
21   financial condition. See SEC v. Life Partners, Inc., 87 F.3d 536, 547 (D.C. Cir. 1996) (“[I]f
22   neither the promoter nor anyone else is expected to make further efforts that will affect the
23   outcome of the investment, then the need for federal securities regulation is greatly diminished.”).
24   It should thus be no surprise that all of the digital asset regulation proposals currently being
25   debated in Congress principally treat tokens like the ones here as commodities. Infra Section
26   II.B.2.
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 1           Holding that the tokens here are not securities does not mean they would go unregulated.
 2   To the contrary, federal and state regulators assert that tokens remain subject to a litany of
 3   possible regulations already on the books—including state and federal laws concerning consumer
 4   protection, commodities, and fraud.8 But the sale of tokens on a secondary market does not—
 5   without more—trigger the SEC’s elaborate registration and disclosure requirements designed for
 6   investments in an ongoing enterprise.
 7                                                    ***
 8           In short, the Amended Complaint fails in all respects to allege that the tokens at issue
 9   satisfy the “uniformly applied” definition of “investment contract” that Congress “crystallized”
10   in the federal securities laws. Howey, 328 U.S. at 298. They involve no contracts, their sale
11   imposes no ongoing legal obligations on developers, and they provide no entitlement to profit
12   sharing. They are not “investment contracts” as that term has always been understood. The
13   Amended Complaint therefore must be dismissed.
14   II.     BOTH HOWEY       AND THE     MAJOR QUESTIONS DOCTRINE FORECLOSE                   THE   SEC’S
15           ATTEMPT TO SCRAP THE TRADITIONAL DEFINITION OF AN “INVESTMENT CONTRACT.”
16           Precedent confirms what text and history already make clear: The federal securities laws
17   use the traditional definition of “investment contract.” Indeed, the Supreme Court held as much
18   in Howey, stating in quite plain terms that, “[b]y including an investment contract within the
19   scope of . . . the Securities Act, Congress was using a term the meaning of which had been
20   crystallized by this prior judicial interpretation [in state blue sky cases].” 328 U.S. at 298.
21           Despite this straightforward sentiment, the SEC appears to contend the Howey Court
22   actually replaced the traditional definition of “investment contract” with something else—a
23   malleable standard that does not require any “contract,” much less the specific sort of contract
24   uniformly required under the blue sky laws. The SEC is wrong. Neither the Supreme Court nor
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               See, e.g., U.S. Dep’t of Justice, The Role of Law Enforcement in Detecting, Investigating, and
26   Prosecuting Criminal Activity Related to Digital Assets 14-32 (Sept. 2022).

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 1   the Ninth Circuit has ever found an “investment contract” where the instrument does not satisfy
 2   that term’s traditional definition.9 This Court should not accept the SEC’s invitation to break
 3   new ground.
 4            The “Major Questions Doctrine” dispels any doubts. The Supreme Court has explained
 5   that an “[e]xtraordinary grant[] of regulatory authority”—a term that plainly captures a broad
 6   power over the new, trillion-dollar digital asset industry10—requires “clear congressional
 7   authorization.” West Virginia v. EPA, 142 S. Ct. 2587, 2614-16 (2022). The SEC’s attempt to
 8   wring broad jurisdiction over digital assets from the text of the Depression-era securities laws or
 9   the spirit of Justice Murphy’s 1946 Howey opinion fits that doctrine to a tee. The SEC needs
10   “clear” statutory authority to regulate digital assets like the ones at issue. It does not have it here.
11            A.       Neither Howey Nor Its Progeny Gives the SEC License to Depart From the
12                     Traditional Definition of an “Investment Contract.”
13            Once more, when a statutory term is “obviously transplanted from another legal source”
14   it “brings the old soil with it.” Felix Frankfurter, Some Reflections on the Reading of Statutes,
15   47 Colum. L. Rev. 527, 537 (1947). The Howey Court thus held the term “investment contract”
16   in the federal securities laws carried the “common” and “uniformly applied” definition from the
17   state blue sky laws that preceded the federal securities laws.                     Howey, 328 U.S. at 298.
18   Nevertheless, the SEC now claims that Howey actually (and covertly) displaced the traditional
19   definition of “investment contract” with a new standard. That counterintuitive claim is wrong.
20

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                See generally Lewis Rinaudo Cohen et al., The Ineluctable Modality of Securities Law: Why Fungible
23   Crypto Assets Are Not Securities 36-72 (Nov. 10, 2022) (discussion draft) (exhaustively surveying federal appellate
     cases applying Howey) (https://tinyurl.com/2s35rtxr).
24            10
                     Michelle Neal, Advances in Digital Currency Experimentation, FED. RES. BANK N.Y. (Nov. 4, 2022),
     https://tinyurl.com/d4bfkeb4 (“Currently, the total cryptoasset market capitalization rests around $1 trillion[.]”);
25   Cristina Polizu et al., A Deep Dive Into Crypto Valuation, S&P GLOBAL (Nov. 10, 2022),
     https://tinyurl.com/yc6h9k79 (“As of August 2022, the total market capitalization of cryptocurrencies stood at $1.1
26   trillion . . . or about 2.5% of the U.S. equity market capitalization.”); COINMARKETCAP, https://tinyurl.com/bdkc6dta
     (last visited Feb. 3, 2023) (valuing the global cryptocurrency market cap at nearly $1.1 trillion).
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 1                  1.      The SEC misreads Howey.
 2          The SEC’s view is that there is an “investment contract” whenever a person is “led to
 3   invest money in a common enterprise with the expectation that they would earn a profit solely
 4   through the efforts of the promoter or of some one other than themselves” (a formulation often
 5   called the “Howey Test”). Howey, 328 U.S. at 298; see also, e.g., SEC Summ. J. Opp’n in Ripple,
 6   supra, at 11-12. The SEC has applied that view here, alleging the tokens at issue are securities
 7   under the Howey Test alone, see, e.g., Am. Compl. ¶ 105, regardless of whether they have the
 8   traditional attributes discussed above. Relying on stray lines from Howey that are stripped from
 9   context, the SEC reasoned in another case that the term “investment contract” is not cabined by
10   its historical definition, but is open-ended, embodying “a flexible rather than static principle, one
11   that is capable of adaption to meet the countless and variable schemes devised by those who seek
12   the use of the money of others on the promise of profits.” Howey 328 U.S. at 299; SEC Summ.
13   J. Opp’n in Ripple, supra, at 10, 21.
14          The SEC deeply misunderstands Howey. The opinion is not at war with itself; the Court
15   does not recognize and endorse the uniform state law definition of “investment contract” in one
16   breath, yet silently displace that settled definition in the next for something wholly new. Rather,
17   the Howey Test is an elaboration upon—not a substitute for—the traditional definition of
18   “investment contract.” In other words, the Howey Test captures the extensive array of business
19   ventures that may conceivably fit within the four corners of an “investment contract,” but it does
20   not eliminate the basic qualities needed for there to be an “investment contract” in the first place.
21          A pie may have any number of fillings. A term paper may cover any number of subjects.
22   But a pie needs a pastry, and a term paper needs a paper. So too here. There is no question an
23   “investment contract” may include “countless and variable schemes”—from orange production
24   to muskrat rearing to real estate. But for those schemes to become federal securities, the pre-
25   requisites of an “investment contract” still must be present. There must be a contract that imposes
26   post-sale obligations and carries a right to share in profits. To be sure, those pre-requisites are
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 1   not exceedingly demanding, and allow for broad application. But they are at the heart of the
 2   “uniformly applied” definition that Congress “crystallized” into law. Howey, 328 U.S. at 298.
 3          In arguing in another case that an “investment contract” does not need a contract, the SEC
 4   has also latched onto Howey’s description of an “investment contract” as “mean[ing] a contract,
 5   transaction, or scheme.” SEC Summ. J. Opp’n in Ripple, supra, at 15-16 (quoting Howey, 328
 6   U.S. at 298-99). That too is mistaken. See Edwards, 540 U.S. at 397 (“We are considering
 7   investment contracts.”). Rather, the Howey Court was simply saying that courts need to look at
 8   the full picture, and consider the full “economic reality” of a business venture. 328 U.S. at 298.
 9   Sometimes, the full picture resides within a single contract. But often it does not, and a court
10   should not disregard “substance” for “[f]orm” in doing its analysis. Id. Howey itself, for instance,
11   involved two transactions—a sales contract for the land, and a management contract for the
12   citrus groves atop that land. Id. at 295-96. Neither contract was alone an “investment contract”;
13   but in combination, the overall scheme was. The SEC misapprehends Howey’s commonsense
14   command to consider context as license for discarding the most elemental trait of an “investment
15   contract”—an actual contract, whether written or implicit. See id. at 300 (investment contracts
16   exist “regardless of the legal terminology in which such contracts are clothed” (emphasis
17   added)).
18          In short, Howey elaborated upon the traditional definition of “investment contract.” It
19   did not purport to replace it. The Howey Court meant what it said when it said the very opposite.
20                  2.      The uniform practice of the Supreme Court and the Ninth Circuit
21                          confirms the SEC’s error.
22          Perhaps the most telling indication of a problem with the SEC’s reading of Howey is the
23   absence of any precedent to support it. Indeed, the traditional definition of “investment contract”
24   has brooked no departures. Neither the Supreme Court nor the Ninth Circuit has ever found an
25   “investment contract” where the instrument at issue did not meet the term’s traditional definition.
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 1            Even before Howey, the traditional definition of “investment contract” had taken hold in
 2   the federal courts. See, e.g., SEC v. Bailey, 41 F. Supp 647, 650 (S.D. Fla. 1941) (“investment
 3   contract” is “a contract providing for the investment or laying out of capital in a way intended to
 4   secure income or profit from its employment, which will arise through the activities and
 5   management of others than the owner”). And since Howey, the Supreme Court has never
 6   recognized an “investment contract” that lacks the three defining characteristics described above.
 7   See, e.g., Edwards, 540 U.S. at 391 (finding payphone sale-and-leaseback arrangement to be
 8   investment contract where company contracted to maintain phones and deliver fixed monthly
 9   return); Tcherepnin v. Knight, 389 U.S. 332, 337 (1967) (same for “withdrawable capital shares”
10   that paid “dividends” from savings and loan association’s “profits”); SEC v. United Benefit Life
11   Ins. Co., 387 U.S. 202, 205 (1967) (same for annuity contracts providing right to a “pro rata
12   share” of returns from “portfolio of equity interests”); SEC v. Variable Annuity Life Ins. Co., 359
13   U.S. 65, 71 (1959) (similar); see also SEC v. C.M. Joiner Leasing Corp., 320 U.S. 344, 348-49
14   (1943) (same for oil lease sales conditioned on promoters’ contractual agreement to drill wells).
15            Nor has the Ninth Circuit—in any case of which we are aware—ever deviated from this
16   consistent understanding of the term. See, e.g., SEC v. Schooler, 905 F.3d 1107, 1110-13 (9th
17   Cir. 2018) (finding land sale to be an investment contract where promoter contractually promised
18   to operate development project and return pro rata profits); Warfield v. Alaniz, 569 F.3d 1015,
19   1024 (9th Cir. 2008) (same for charitable gift annuities that promised regular returns); SEC v.
20   R.G. Reynolds Enters., Inc., 952 F.2d 1125, 1131 (9th Cir. 1991) (same for interests in similar
21   investment programs).11 Indeed, where an instrument has lacked an essential part of the
22
              11
                 See also, e.g., SEC v. Hui Feng, 935 F.3d 721, 726-27 (9th Cir. 2019) (investments in regional centers
23   that financed construction projects, that promised investors a fixed annual return); Daniels-Hall v. Nat’l Educ. Ass’n,
     629 F.3d 992, 1006 (9th Cir. 2010) (variable annuities); Rubera, 350 F.3d at 1087, 1093 (payphone purchase and
24   service agreements where company agreed to operate the payphones and return at least $58.34 each month, and up
     to 30% of the phone’s monthly revenue); Webster v. Omnitrion Int’l, Inc., 79 F.3d 776, 784 (9th Cir. 1996) (multi-
25   level marketing program); SEC v. Eurobond Exch., Ltd., 13 F.3d 1334, 1338-41 (9th Cir. 1994) (agreement where
     seller would use investor’s money to obtain foreign-currency loans and purchase foreign-treasury bonds, and return
26   to invest “profit . . . derived from the difference” between the loan’s and bonds’ interest rates); Hocking v. Dubois,
     885 F.2d 1449, 1455 (9th Cir. 1989) (en banc) (agreement where broker packaged condominium sale with
27   development agreements); Davis v. Metro Prods., Inc., 885 F.2d 515, 517 (9th Cir. 1989) (“production service

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 1   traditional definition of “investment contract,” this Circuit has held it is not a security. See, e.g.,
 2   Salameh v. Tarsadia Hotel, 726 F.3d 1124, 1131-32 (9th Cir. 2013) (finding no investment
 3   contract where real estate agreement did not clearly involve post-sale obligations or legal
 4   entitlement to share profits); De Luz Ranchos, 608 F.2d at 1301 (same where promoter “did not
 5   represent that it would develop, improve, or manage” the lands and also “did not promise to
 6   distribute profits”); Chapman v. Rudd Paint & Varnish Co., 409 F.2d 635, 640-41 (9th Cir. 1969)
 7   (same where product distributorship agreement expressly disclaimed guarantee of any
 8   entitlement to regular profits).12
 9

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     agreements” where company sold television tapes, advised investor that he must engage a management services
     group to market the videotapes and thereby make income, and introduced him to the management company that he
11
     retained); United States v. Kessi, 868 F.2d 1097, 1101, 1103 (9th Cir. 1989) (agreements where investors would
     receive 50% of the profits from seller’s trading); United States v. Morse, 785 F.2d 771, 773-74, 776 (9th Cir. 1986)
12   (investments in oil and gas drilling, in video-game placement program, and in heavy-equipment leasing program);
     SEC v. Goldfield Deep Mines Co. of Nev., 758 F.2d 459, 462-65 (9th Cir. 1985) (ore purchase program where
13   investors would purchase tons of ore dump material, and where seller would by default process, refine, store, and
     market the ore and return proceeds of ore’s sale); United States v. Jones, 712 F.2d 1316, 1319, 1322 (9th Cir. 1983)
14   (sale-leaseback arrangements for tractors and trailers); SEC v. Murphy, 626 F.2d 633, 640 (9th Cir. 1980) (limited
     partnership agreement); United States v. Farris, 614 F.2d 634, 641 (9th Cir. 1979) (mortgage notes where sellers
15   agreed to collect on notes and pay off the principal if the lot’s buyer defaulted); Smith v. Gross, 604 F.2d 639, 641-
     43 (9th Cir. 1979) (earthworm purchase agreement where seller promised to buy back the worm offspring at $2.25
16   per pound); United States v. Carman, 577 F.2d 556, 559, 564 (9th Cir. 1978) (federally insured student loan
     “packages” that included, among other things, a “contract” where a company agreed to service the loan, an
17   agreement to repurchase any defaulted loans, and a buy-back agreement); SEC v. Commodity Options Int’l, Inc., 553
     F.2d 628, 632-33 (9th Cir. 1977) (double-options contract where seller would reinvest money and return to buyer a
18   share of the profits); Safeway Portland Emps.’ Fed. Credit Union v. C. H. Wagner & Co., 501 F.2d 1120, 1122-24
     (9th Cir. 1974) (sale of certificates of deposit coupled with a promise to pay bonus interest on the certificates);
19   Parvin v. Davis Oil Co., 524 F.2d 112, 115-16 (9th Cir. 1975) (fractional oil and gas leases where seller would
     “conduct oil exploration operations on the leased land”); El Khadem v. Equity Sec. Corp., 494 F.2d 1225, 1226,
20   1230 (9th Cir. 1974) (agreement where company promised to use invested capital for own investment, for which
     investor would receive tax benefits and investment leverage); SEC v. Glenn W. Turner Ents., Inc., 474 F.2d 476,
21   478, 480-82 (9th Cir. 1973) (arrangements where purchaser would receive a right to sell company’s self-
     improvement plans to others and a guaranteed commission on each sale); L.A. Tr. Deed & Mortg. Exch. v. SEC, 285
22   F.2d 162, 171-72 (9th Cir. 1960) (trust deeds where seller promised 10% earnings and to, among other things, service
     the loan and handle foreclosure on it); Penfield Co. of Cal. v. SEC, 143 F.2d 746, 750-51 (9th Cir. 1944) (whiskey
     purchase and bottling contracts where the company would bottle whiskey and sell it, and then pay contract holders
23   90% of the profits); see Cohen, supra, at 53 (“[I]n those very limited appellate cases in which an investment contract
     was found without there being a written contract between the parties that related to the investment contract
24   transaction, the elements of an implied-in-fact contract are always present.”).
              12
25               When pressed with these arguments in the Ripple case pending in the Southern District of New York,
     the SEC failed to cite a single genuine counter-example (other than a thimbleful of cases involving other digital
26   assets) in which a court found an “investment contract” without the traditional definition of that term being satisfied.
     Compare Ripple Summ. J. Mot., supra, at 21-23, with SEC Summ. J. Opp’n in Ripple, supra, at 19-21. At most,
27   the SEC raised out-of-circuit cases that stand for the uncontroversial proposition that an “investment contract” does

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 1           The SEC’s attempt to regulate the digital assets here—tokens sold on secondary markets,
 2   involving no contract, no post-sale obligations, nor any right to share in profits—deviates from
 3   the long-settled understanding of the securities laws’ scope. The Court should squarely reject it.
 4           B.       The Major Questions Doctrine Confirms the SEC May Not Jettison the
 5                    Traditional Definition of “Investment Contract” Here.
 6           Precedent and text plainly require dismissal of the SEC’s Amended Complaint. But even
 7   if the SEC were able to conjure some ambiguity about the scope of its authority—whether from
 8   Howey or the federal securities laws themselves—the Major Questions Doctrine would foreclose
 9   exploiting that ambiguity here. That is, even if the SEC’s competing understanding of the law
10   were “colorable” or “plausible,” that is not enough. West Virginia, 142 S. Ct. at 2609. As
11   between two possible interpretations of the law—one that confers vast power on federal agencies
12   to resolve substantial policy questions, and one that ensures Congress makes major policy
13   choices—the Major Questions Doctrine requires the federal courts to opt for the latter reading.
14           It is hard to fathom a more archetypal violation of the Major Questions Doctrine than the
15   SEC’s assertion of authority over digital assets. That doctrine holds, at heart, that an agency may
16   not bring about a major policy without clear statutory authorization. Id. And here, the SEC is
17   pressing a novel construction of an isolated term from a Depression-era law to assert regulatory
18   authority over a trillion dollar industry built upon revolutionary technology poised to define the
19   next generation of the internet—all as Congress is actively debating the issue, considering zero
20   proposals that bless the SEC’s view of its own authority. Time and again, the Supreme Court
21   has rejected this sort of expansionism by federal agencies. This Court should do the same here.
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26   not require a written contract. Sure. But saying that contractual obligations need not be committed to paper does
     not mean they need not exist at all.
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 1                      1.       How to regulate digital assets is a major question requiring clear
 2                               congressional authorization before an agency may act.
 3           The Supreme Court has repeatedly held that “an agency must point to clear congressional
 4   authorization when it seeks to regulate a significant portion of the American economy.” West
 5   Virginia, 142 S. Ct. at 2621 (Gorsuch, J., concurring) (collecting cases). The Court has not set a
 6   precise dollar amount for this economic trigger, but precedent and common sense give a sense of
 7   where the line is drawn. See, e.g., id. at 2622 (regulation imposing over $200 billion in costs);
 8   Utility Air Regulatory Grp. v. EPA, 573 U.S. 302, 321-22 (2014) (regulation imposing around
 9   $150 billion in costs); FDA v. Brown & Williamson Tobacco Corp., 529 U.S. 120, 159 (2000)
10   (agency asserting jurisdiction over domestic tobacco industry valued roughly near $100 billion).
11           Here, the SEC is claiming regulatory domain over a digital asset industry worth around
12   $1 trillion.13 The industry employs thousands of Americans; has attracted record sums of venture
13   capital funding; and has given rise to scores of new businesses.14 Moreover, digital assets have
14   become a fact of daily life for many Americans. Almost one-in-five Americans have invested in
15   cryptocurrency at some point.15 And the per-day volume for trading tracks around $100 billion.16
16           Digital assets are also built on a pathmarking technology—the blockchain—that is
17   destined to reshape the financial sector and define the next generation of the internet. As noted,
18   blockchain technology lets parties transact without a centralized intermediary, like a broker or
19   bank. This has profound implications for financial services. Blockchain also allows people to
20   store, transfer, and verify data without an intermediary—that is, to interact online without relying
21

22           13
                  See sources cited supra note 10.
               14
                  See, e.g., Jamie Redman, Crypto Employment Abounds with More Than 8,000 Jobs in 2020, Bitcoin.com
23   (Jan. 18, 2020), https://tinyurl.com/3ph27fsk; Tom Wilson et al., Cryptoverse: What Crisis? Venture Capitalists Bet
     Big on Crypto, REUTERS (July 26, 2022), https://tinyurl.com/3b65ybtd; Blockchain in Financial Services Startups
24   in the United States, TRACXN (Sept. 20, 2022), https://tinyurl.com/3azj4tuv (reporting 3,941 U.S. startups using
     blockchain in financial services).
25          15
                See, e.g., Thomas Franck, One in Five Adults Has Invested in, Traded or Used Cryptocurrency, NBC
26   News Poll Shows, CNBC (Mar. 31, 2022), https://tinyurl.com/6ksnk3pa.
             16
                  See Q2 2022 Cryptocurrency Report, COIN GECKO (July 13, 2022), https://tinyurl.com/dpuyw5sr.
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 1   (as we do today) on a handful of large tech companies to facilitate and monitor those interactions.
 2   In this light, blockchain technology will be at the center of future debates about privacy,
 3   surveillance, and government power. All told, blockchain technology has already been used for
 4   such varied purposes as tracking tangible items via “smart contracts” (ranging from lettuce to
 5   diamonds), empowering foreign refugees to identify themselves digitally after fleeing their home
 6   countries, and permitting local communities to securely maintain land registration records.17
 7           Because of both the monetary value and societal potential of digital assets, who regulates
 8   them and how is a big deal. Or put another way, regulating digital assets plainly concerns “a
 9   significant portion of the American economy.” West Virginia, 142 S. Ct. at 2608 (quotation
10   marks omitted). And for that reason, the question of how to regulate digital assets principally
11   falls to Congress, not an administrative agency like the SEC. Id. at 2609 (“We presume that
12   Congress intends to make major policy decisions itself, not leave those decisions to agencies.”).
13           Recognizing that the regulation of digital assets presents a major question would not put
14   every digital asset beyond the reach of the SEC. It would, however, require that the SEC satisfy
15   the longstanding meaning of “investment contract” before it can assert authority over a particular
16   digital asset. The SEC’s ability to concoct a “novel” reading of a statute—however “colorable”
17   or “plausible”—is insufficient. Id. Only “clear congressional authorization” will do. Id.
18                    2.       The SEC lacks clear congressional authorization to deem the tokens
19                             at issue to be “securities.”
20           The SEC does not have clear congressional authorization for its assertion of regulatory
21   power in this case, or broadly over the digital asset space. Five independent points show why.
22           First, far from clearly authorizing the SEC’s assertion of regulatory power, the term
23   “investment contract” affirmatively forecloses it. As explained above, “investment contract” is
24           17
                 See, e.g., Michael Corkery & Nathaniel Popper, From Farm to Blockchain: Walmart Tracks Its Lettuce,
     N.Y. TIMES, Sept. 24, 2018, https://tinyurl.com/jkcvrey8; De Beers Group Successfully Tracks First Diamonds from
25   Mine to Retail on Industry Blockchain, DE BEERS GRP. (May 10, 2018), https://tinyurl.com/e9cdj8yt; Fixing Aid,
     Can Blockchain Help Fix the I.D. Problem for a Billion People?, NEW HUMANITARIAN (Mar. 31, 2022); Eli Abrams,
26   How European Countries Are Using Blockchain to Reform the Land Registration Process, EMERGING EUROPE (Aug.
     17, 2022), https://tinyurl.com/436tewjc.
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 1   a term of art that Congress incorporated into the federal securities laws—a term of art that
 2   necessarily excludes the tokens at issue. Supra Section I.A.1. This case is thus far simpler than
 3   those in which courts have had to grapple with vague terms that lacked established definitions.
 4   See, e.g., Brown & Williamson, 529 U.S. at 126-27 (“drugs” and “devices”); Utility Air, 573 U.S.
 5   at 310 (“air pollutant”); West Virginia, 142 S. Ct. at 2610 (“system”). At minimum, the SEC
 6   cannot divine a clear statement of existing authority by recasting a term of art in an entirely novel
 7   way.
 8           Second, the SEC’s position would massively expand its own power. Congress included
 9   the phrase “investment contract” in the securities laws to cover one-off business ventures where
10   the investment interests had the basic attributes of a traditional security. See Edwards, 540 U.S.
11   at 393-94.     And that term has been applied consistently with its limited focus, covering
12   investment schemes involving orange groves, beavers, and real estate.18 The SEC is now trying
13   to dust off this obscure term to ensnare an entire industry worth around $1 trillion. The SEC has
14   “never relied on [this] authority to regulate [business] . . . [in] such a remarkable manner.” West
15   Virginia, 142 S. Ct. at 2609. And the Major Questions Doctrine forecloses its attempt to
16   “discover” such an “unheralded power” in “a long-extant statute.” Utility Air, 573 U.S. at 324.
17           Third, the SEC’s sweeping view of an “investment contract” is in tension with the existing
18   framework for securities regulation. Not only is the SEC’s view inconsistent with the basic
19   function of securities regulation. Supra Section I.C. It is also, as a practical matter, an
20   exceedingly poor fit for the securities laws. And when an agency’s position is “inconsistent with
21   the design and structure of the statute as a whole,” it flunks the Major Questions Doctrine. Id. at
22   321.
23

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               18
25                See Howey, 328 U.S. at 299; Joiner, 320 U.S. at 348-49; Continental Marketing, 387 F.2d at 468-71;
     see also, e.g., Rubera, 350 F.3d at 1087, 1093 (payphone purchase and service agreements); Goldfield Deep Mines,
26   758 F.2d at 462-65 (ore purchase and refinement program); Penfield, 143 F.2d at 750-51(whiskey bottling scheme).

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 1           Consider, for instance, how digital assets may interact with the many disclosure rules in
 2   the securities laws. To take one example, before a security is sold to the public, an “issuer”
 3   usually needs to file a registration statement with the SEC detailing information about the issuer’s
 4   business. The Securities Act defines “issuer” as “every person who issues or proposes to issue
 5   any securities.” 15 U.S.C. § 77b(a)(4). But what does that mean for digital assets? Is the issuer
 6   the computer software that creates and distributes tokens? Is it the person who originally wrote
 7   that program, even if he no longer has anything to do with the platform? Is it each validator on
 8   the platform who gets tokens by verifying transactions? Each user who earns new tokens as
 9   rewards? Other examples abound.19 But the basic point is that there is a mismatch between the
10   securities laws’ focus on centralized companies (e.g., General Motors) and digital assets’
11   decentralized networks. A legal regime designed around singular companies and business
12   ventures—with clear point people and leaders—does not map cleanly onto a set of products
13   defined by their diffuse nature.
14           Fourth, Congress is actively considering how to best regulate digital assets. The reality
15   is that digital assets do not fit cleanly into any existing federal regulatory regime—they blur the
16   lines across money, commodities, and securities. That has led to confusion among regulators.
17   The Commodity Futures Trading Commission (“CFTC”), for example, has taken the view that
18   some digital assets are commodities. See, e.g., Commodity Futures Trading Comm’n, Digital
19   Assets Primer 23 (2020); Amended Complaint ¶ 1, Commodity Futures Trading Comm’n v.
20   Bankman-Fried, No. 22-cv-10502 (S.D.N.Y. Dec. 13, 2022). One CFTC Commissioner even
21   criticized the SEC’s decision to allege here “that dozens of digital assets,” including utility tokens
22   and governance tokens, “are securities.” Statement, Commodity Futures Trading Comm’n,
23   Statement of Commissioner Caroline D. Pham on SEC v. Wahi (July 21, 2022),
24
             19
                 See, e.g., Chris Brummer, Disclosure, Dapps and DeFi, 5 Stan. J. Blockchain L. & Pol’y 137, 144-49
25   (2022); Carol R. Goforth, Cinderella’s Slipper: A Better Approach to Regulating Cryptoassets as Securities, 17
     Hastings Bus. L.J. 271, 294-301 (2021); Lewis Renaudo Cohen, Ain’t Misbehavin’: An Examination of Broadway
26   Tickets and Blockchain Tokens, 65 Wayne L. Rev. 81, 97 (2019).

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 1   https://tinyurl.com/47wdzu2a. Meanwhile, one SEC Commissioner has conceded that, if the
 2   SEC “seriously grappled with the legal analysis and [its] statutory authority,” it “would have to
 3   admit that [it] likely need[s] more, or at least more clearly delineated, statutory authority to
 4   regulate certain crypto tokens and to require crypto trading platforms to register with us.” Hester
 5   M. Peirce, Comm’r, Secs. & Exch. Comm’n, Outdated: Remarks Before the Digital Assets at
 6   Duke Conference (Jan. 20, 2023), https://tinyurl.com/eh8cmtbk. That same Commissioner
 7   added: “Congress can figure out whether and how to fill the regulatory gaps.” Id. And given
 8   this novel terrain and the jurisdictional questions digital asset regulation presents, Congress
 9   appears to have taken on that task and begun to “debate[] the matter frequently.” West Virginia,
10   142 S. Ct. at 2621 (Gorsuch, J., concurring); see also, e.g., S. 4760 (Aug. 3, 2022) (“Digital
11   Commodities Consumer Protection Act”); S. 4356 (June 7, 2022) (“Lummis-Gillibrand
12   Responsible Financial Innovation Act”); H. 4741 (July 2021) (“Digital Asset Market Structure
13   and Investor Protection Act”).20
14            Congress is not now actively debating a question it has already answered. And the
15   Congress that passed the federal securities laws did not make the policy choice about how to
16   regulate something like crypto. If anything, the current congressional debates strongly suggest
17   that the SEC should not be in charge of digital assets. None of the current proposals in Congress
18   assigns primary regulatory authority to the SEC. Indeed, a wide number of proposals have been
19   introduced specifically to clarify the SEC currently lacks regulatory jurisdiction over broad
20   swaths of digital assets—including tokens like the ones here. See, e.g., H.R. 1628, §§ 2-5 (Mar.
21            20
                 See also S. 5030 (Sept. 29, 2022) (“Digital Trading Clarity Act of 2022”); H.R. 7614 (Apr. 28, 2022)
22   (“Digital Commodity Exchange Act of 2022”); H.R. 4451 (July 16, 2021) (“Securities Clarity Act”); H.R. 1628
     (Mar. 8, 2021) (“Token Taxonomy Act”); H.R. 1602 (Mar. 8, 2021) (“Eliminate Barriers to Innovation Act of
     2021”); H.R. 923 (Jan. 30, 2019) (“U.S. Virtual Currency Market and Regulatory Competitiveness Act of 2019”);
23   H.R. 6154 (Mar. 9, 2020) (“Crypto-Currency Act of 2020”). The Chairman of the House Financial Services
     Committee has also recently established a Subcommittee on Digital Assets, Financial Technology and Inclusion
24   tasked with, among other things, “[p]roviding clear rules of the road among federal regulators for the digital asset
     ecosystem.” Press Release, Fin. Servs. Comm., McHenry Announces Financial Services Subcommittee Chairs and
25   Jurisdiction for 118th Congress (Jan. 12, 2023), https://tinyurl.com/yc7h4kua. Since then, the Committee’s majority
     wing has announced that the “Howey Test is not fit for the purpose of determining whether many digital assets are
26   a security” and that its members “are committed to fixing this in legislation.” Financial Services GOP
     (@FinancialCmte), TWITTER (Jan. 26, 2023, 1:20 PM), https://tinyurl.com/3zhkucfh.
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 1   8, 2021) (“Token Taxonomy Act”); H.R. 4451 §§ 2(a)(2)-(5), 3 (July 16, 2021) (“Securities
 2   Clarity Act”). Congress has thus “conspicuously and repeatedly declined” to accede to the SEC’s
 3   broad view of its own authority. West Virginia, 142 S. Ct. at 2610; see also id. at 2620-21
 4   (Gorsuch, J., concurring) (“This Court has found it telling when Congress has considered and
 5   rejected bills authorizing something akin to the agency’s proposed course of action.”).
 6          Finally, practical consequences weigh heavily against the SEC’s position. See id. at 2608.
 7   Given the unprecedented nature of the SEC’s interpretation of “investment contract,” there are
 8   minimal real world consequences to rejecting it; we are aware of no case in which either the
 9   Supreme Court or this Circuit has ever countenanced an “investment contract” that departs from
10   the term’s traditional definition. The repercussions of adopting the Commission’s broad view
11   would, by contrast, be momentous, and would expand far beyond digital assets. In its plainest
12   form, it is hard to see how the SEC’s view—unburdened by the traditional definition of
13   “investment contract”—would not extend to baseball cards, beanie babies, designer sneakers,
14   commemorative coins, initial sales of concert tickets (often bought to flip for a profit), and much
15   more besides. With that interpretation, as SEC Commissioner Peirce has noted, “functionally
16   the ‘most important’ factor of the Howey Test is an SEC-invented ‘fifth shadow factor’: whether
17   the SEC wants to regulate the asset.” See Peirce, Remarks, supra. But Congress likely did not
18   delegate the question whether to regulate any asset—and thereby an entire industry—to an
19   agency to decide on a whim. Thus, even if the SEC’s interpretation were potentially plausible,
20   “the sheer scope of [its] claimed authority . . . would counsel against [its] interpretation.”
21   Alabama Ass’n of Realtors v. Dep’t of Health & Hum. Servs., 141 S. Ct. 2485, 2489 (2021) (per
22   curiam). The Court should decline to go down that perilous path and should instead enforce the
23   law as Congress wrote it.
24          C.      Due Process Concerns Similarly Militate Against the SEC’s Position.
25          At minimum, principles of due process forbid the SEC from recasting the term
26   “investment contract” to pick up the tokens at issue here. Fair notice requires that laws be defined
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 1   with sufficient clarity that ordinary people like the Wahi brothers may understand what conduct
 2   is prohibited. See Skilling v. United States, 561 U.S. 358, 402 (2010). Congress may not cast a
 3   “net large enough to catch all possible offenders,” while leaving “it to the courts to step inside
 4   and say who could be rightfully detained.” United States v. Reese, 92 U.S. 214, 221 (1876).
 5           If the SEC’s reading of “investment contract” were permissible—that is, if an “investment
 6   contract” does not require anything resembling a contractual relationship or binding obligations
 7   thereunder—then the law would be unconstitutional, at least as applied to the Defendants. Recall,
 8   not even the phalanx of sophisticated counsel at Coinbase thinks the tokens at issue are securities.
 9   Supra p. 10. The industry has been raising the alarm for years that nobody has any clue what
10   digital assets the SEC considers to be federal securities.21 And one Commissioner has admitted
11   that the regulatory environment is “opaque,” with the SEC’s “regulation-by-arbitrary-and-tardy-
12   enforcement-actions approach” being “the opposite of a rational regulatory framework.” Peirce,
13   Remarks, supra. Indeed, if the SEC is able to detach the term “investment contract” from its
14   historical meaning, then all sorts of assets become potentially fair game—virtually all items that
15   people buy for investment purposes based on expectations about what some other person or entity
16   will do. There is no reason to invite such constitutionally problematic chaos. This Court should
17   instead reject the SEC’s open-ended conception of an “investment contract” and dismiss the
18   Amended Complaint.
19   III.    THE TOKENS ARE NOT “INVESTMENT CONTRACTS” UNDER HOWEY’S TERMS ALONE.
20           The most straightforward basis for dismissal is that none of the tokens at issue here are
21   “investment contracts” under that term’s traditional definition, as explained above. But even
22   under the prongs of Howey—removed from context and stripped of their historical meaning—
23   the SEC still loses. Under Howey, an “investment contract” must include “(1) an investment of
24           21
                  See, e.g., Petition for Rulemaking – Digital Assets Securities Regulation, SECS. & EXCH. COMM’N (July
     21, 2022), https://tinyurl.com/22xb6e52; Sumathi Bala, Ripple CEO Says the U.S. Lacks Regulatory Clarity on
25   Cryptocurrency, CNBC (Apr. 30, 2021), https://tinyurl.com/bdzcrxmc; Is XRP a Security? We May Never Know,
     COIN TELEGRAPH (Sept. 29, 2019), https://tinyurl.com/32tyebdt; Kate Rooney, Crypto Industry Leaders Warn
26   Congress: Figure out Regulation, or Watch Innovation Leave the US, CNBC (Sept. 25, 2018),
     https://tinyurl.com/3ckujbfd.
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 1   money (2) in a common enterprise (3) with an expectation of profits produced solely by the
 2   efforts of others.” Warfield, 569 F.3d at 1020. The Howey Test is conjunctive, so failing any of
 3   its elements means the instrument is not a security. Howey, 328 U.S. at 301. And here, on the
 4   Amended Complaint’s own terms, none of the tokens satisfies Howey’s latter two prongs. Even
 5   under the SEC’s preferred framework, the Amended Complaint must therefore be dismissed.
 6          A.      None of the Tokens Involves a “Common Enterprise.”
 7          As noted, an “investment contract” is something more than an ordinary asset sale. Among
 8   other things, it requires an investment in a “common enterprise.” Courts have divided over the
 9   precise meaning of this term, but the basic notion captures a shared endeavor where the
10   participants’ fortunes are intertwined. James D. Gordon, Defining a Common Enterprise in
11   Investment Contracts, 72 Ohio St. L.J. 59, 61 (2011). There are two ways to establish a “common
12   enterprise” in the Ninth Circuit—through “horizontal commonality” or “strict vertical
13   commonality.” Hocking v. Dubois, 885 F.2d 1449, 1455 (9th Cir. 1989) (en banc). Broadly
14   speaking, horizontal commonality focuses on the relationship across similarly situated investors,
15   while strict vertical commonality focuses on the relationship between promoter and investor. Id.
16          The SEC does not say whether it thinks the tokens here exhibit a “common enterprise”
17   under a theory of horizontal or strict vertical commonality. But it does not matter. The SEC fails
18   to plausibly allege a “common enterprise” for any token under either theory.
19                  1.     None of the tokens satisfies horizontal commonality.
20          Again, horizontal commonality focuses on the relationship across investors. Namely,
21   horizontal commonality requires investors to commingle assets in a common pool so that their
22   fortunes rise and fall as one (something called “pooling”). Hocking v. Dubois, 839 F.2d 560, 566
23   (9th Cir. 1988), aff’d in relevant part, 885 F.2d 1449 (9th Cir. 1989) (en banc). In other words,
24   investors “pool their investments together and split the net profits and losses in accordance with
25   their pro rata investments.” Id. And by “pooling their assets and giving up their claims to any
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 1   profit or loss attributable to their particular investments, investors make their collective fortunes
 2   dependent on the success of a single common enterprise.” Id.
 3          As an example of horizontal commonality, consider the facts of Howey. There, investors
 4   did not purchase particular orange groves or specific allocations of fruit. Instead, they put their
 5   money together as part of a shared endeavor, where Mr. Howey commingled fruit from all the
 6   groves and allocated pro rata profits to investors based on overall production. Howey, 328 U.S.
 7   at 296. If there was a good harvest, investors received a higher pro rata distribution; if there was
 8   a bad one, lower, consistent with those “investors’ allocable shares of the profits.” Id. at 300.
 9          By contrast, horizontal commonality is lacking whenever an individual purchaser may
10   “make profits or sustain losses independent of the fortunes of other purchasers.” Revak v. SEC
11   Realty Corp., 18 F.3d 81, 88 (2d Cir. 1994); see also 3 Harold S. Bloomenthal & Samuel Wolff,
12   Securities and Federal Corporate Law § 2:26 (2d ed.) (explaining an investment scheme “does
13   not involve the pooling of one investor’s moneys with the other, [when] they are in fact separately
14   invested and accounted for”). For instance, in Revak, the Second Circuit held individual condo
15   owners who bought their units from the same property company lacked horizontal commonality,
16   because the “rents and expenses attributable to each unit were not shared or pooled in any
17   manner, but were instead the sole responsibility of the unit owner.” 18 F.3d at 88.
18          Here, the SEC fails to plausibly allege horizontal commonality for any of the tokens. This
19   is because no token involves “pooling” across purported investors. For starters, where, as here,
20   token-holders purchase their tokens on an exchange, no money accrues in a common “pool”
21   under the developer’s discretionary control. In the typical exchange transaction, money flows
22   from the token-buyer to the individual token-seller (or perhaps the exchange itself), not the token
23   developer. See O’Connor, supra, at 577. The SEC cannot allege a common “pooling” of assets
24   based on transactions where no money ever goes to the promoter.
25          Fundamentally, horizontal commonality is lacking because, among other reasons, each
26   token-holder is simply an individual asset-holder, whose “profits or losses [are] attributable to
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 1   their particular investment,” not some pro rata distribution of shared earnings. See Hocking, 885
 2   F.2d at 1459; see also Lavery v. Kearns, 792 F. Supp. 847, 858-59 (D. Me. 1992) (no horizontal
 3   commonality where developers “may have had a plan by which they would use the capital from
 4   [condo] sales for their other projects” but “[condo] owners were not a part of that plan” because
 5   they could chose to “hold on to their property, using or renting it, or resell it”).
 6           Consider POWR. As the Amended Complaint tells it, people who bought POWR bought
 7   individual tokens that they could “buy and sell” “whenever they want.” Am. Compl. ¶ 184. That
 8   is irreconcilable with horizontal commonality. Horizontal commonality “requires that investors
 9   share in the profits and risks of the enterprise,” SEC v. SG Ltd., 265 F.3d 42, 50 (1st Cir. 2001)
10   (emphasis added), and so relinquish any claim to profits or losses attributable to their individual
11   investments, see Revak, 18 F.3d at 88. But here, POWR token-holders own their tokens outright,
12   and profits or losses turn wholly on when they choose to sell. That is apples to Howey’s oranges;
13   an individual investment as compared to a pro rata distribution from a collective pot. Id.
14           It makes no difference that the market price of POWR tokens fluctuates the same way for
15   all token-holders. That is all true for the sale of any fungible asset that could be resold on a
16   secondary market—gold bars, concert tickets, condominiums, beanie babies, etc. What disables
17   horizontal commonality in those examples is that an individual buyer can earn profits or incur
18   losses on an individual basis. Hocking, 839 F.2d at 566. Because buyers can profit individually
19   in those examples—as token-holders could here—horizontal commonality is lacking. See, e.g.,
20   Wals v. Fox Hills Dev. Corp., 24 F.3d 1016, 1019 (7th Cir. 1994) (pooling requires “an undivided
21   share in the same pool of assets and profits”).
22           This fundamental defect is common to all the tokens at issue. For each, the SEC does not
23   allege a scheme whereby token-buyers cede control of assets to a common pool of funds. E.g.,
24   Am. Compl. ¶¶ 114 (AMP); 125 (RLY); 136 (DDX); 149 (XYO); 160 (RGT); 174 (LCX); 183
25   (POWR); 197 (DFX); 211 (KROM). Rather, each individual investor acts on his own accord
26   when buying or selling tokens—earning profits and incurring losses according to his own
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 1   decisions. E.g., id. ¶¶ 122 (AMP); 131 (RLY); 145 (DDX); 155 (XYO); 171 (RGT); 178 (LCX);
 2   190-91 (POWR); 207 (DFX); 214-15 (KROM). That forecloses horizontal commonality for
 3   every token.
 4          Finally, the fact some tokens allow for “staking” does not change the analysis. As noted
 5   above, “staking” involves token-holders posting their own tokens as collateral for their work
 6   helping the platform operate. But staking is both optional (it is not something every token-holder
 7   has to do) and individualized (what a person earns via “staking” turns on individual conduct). It
 8   does not involve investors pooling their funds together on the front end, nor pro rata distributions
 9   drawn from common earnings on the back end. As such, any suggestion by the SEC that staking
10   may give rise to horizontal commonality is deeply mistaken. E.g., id. ¶ 114 (AMP).
11                  2.      None of the tokens satisfies strict vertical commonality.
12          The Amended Complaint also fails to plausibly allege strict vertical commonality.
13   Vertical commonality generally focuses on the relationship among the promoter and investor
14   (rather than across the investors themselves). And strict vertical commonality requires the
15   fortunes of promoter and investor to be inextricably linked; if one can do well while the other
16   does poorly, strict vertical commonality is destroyed. But that very dynamic defines each of the
17   tokens here.
18          Stated simply, the distinction between broad vertical commonality and strict is that the
19   former requires only that the fortunes of the investor be linked to the efforts of the promoter while
20   the latter requires that the fortunes of the investor be linked to the fortunes of the promoter. See,
21   e.g., Brodt v. Bache & Co., 595 F.2d 459, 461 (9th Cir. 1978) (rejecting “broad” vertical
22   commonality). In particular, strict vertical commonality turns on a “direct relation between the
23   success or failure of the promoter and that of his investors.” Mordaunt v. Incomco, 686 F.2d
24   815, 817 (9th Cir. 1982). Something more is needed than a link between the “fortunes of
25   investors” and the “efforts of the promoter.” Revak, 18 F.3d at 88. Rather, as the Ninth Circuit
26   has made plain, strict vertical commonality exists only where the “fortunes of the investor are
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 1   interwoven with and dependent upon the efforts and success of those seeking the investment or
 2   of third parties.”    Brodt, 595 F.2d at 460 (emphases added).            Critically, strict vertical
 3   commonality does not exist whenever an investor’s fortunes can operate independently from
 4   those of the promoter; that is, whenever an investor can experience profits while the promoter
 5   can experience losses (or vice versa). Mordaunt, 686 F.2d at 817.
 6          As the Amended Complaint itself explains, however, no token-holder’s fortune is
 7   interwoven with that of the developers. Rather, for each of the tokens, the Amended Complaint
 8   describes how token price turns principally on market forces rather than the vitality of the
 9   underlying platform. See, e.g., Am. Compl. ¶¶ 122 (describing 1000% price swing in AMP), 131
10   (100% for RLY), 145 (300% for DDX), 155 (200% for XYO), 171 (6300% for RGT), 173 (700%
11   for LCX), 191 (300% for POWR), 208 (700% for DFX), 214 (1200% for KROM). A token-
12   holder could turn a profit by selling a token despite the platform struggling. See, e.g., id. ¶¶ 143-
13   45 (noting possible 300% return for platform that still is not fully operational). And a platform
14   could be performing well even while the price of its token sags. See, e.g., id. ¶¶ 172-78
15   (describing how price for LCX fluctuated during period while platform earned money from
16   “crypto-related services”).
17          Contrast this dynamic again to the facts of Howey. There, the orange harvest affected
18   Mr. Howey and his investors in equal measure. All profited alike from selling the grove’s
19   oranges. But that is not true for the tokens here. For each of the tokens, a token-holder’s success
20   turns on individual decisions about when to buy and sell tokens—as the allegations that the
21   Defendants strategically timed their token purchases and sales amply confirm—rather than the
22   “sound management and continued solvency” of the developers. SEC v. Eurobond Exch., Ltd.,
23   13 F.3d 1334, 1340 (9th Cir. 1994).          That fundamental mismatch defeats strict vertical
24   commonality. See, e.g., Meyer v. Thomas & McKinnon Auchincloss Kohlmeyer, Inc., 686 F.2d
25   818, 819 (9th Cir. 1982).
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 1          The SEC says each token involves a “common enterprise” because the interests of token-
 2   holders and developers are broadly aligned, in part because the developers often hold tokens
 3   themselves, and in part because both token-holders and developers generally want the underlying
 4   platform to do well. See, e.g., Am. Compl. ¶ 175. But that proves too much. If a mere alignment
 5   of interests could satisfy strict vertical commonality, then Howey’s requirement that an investor
 6   and a promoter share in a “common enterprise” (i.e., “a profit-seeking business venture”) would
 7   be rendered meaningless. 328 U.S. at 299-300; see, e.g., Mordaunt, 686 F.2d at 817; Bobrowski
 8   v. Red Door Grp., Inc., No. CV-09-02077, 2011 WL 3875424, at *1 (D. Ariz. Aug. 31, 2011)
 9   (rejecting similar argument based on “tenuous link” between investor’s profits and promoter’s
10   success).
11          Indeed, investors and promoters will always want the overarching venture to succeed
12   rather than fail. As such, more is needed to show strict vertical commonality. See Revak, 18
13   F.3d at 88. Someone who buys gold from a jeweler is not in strict vertical commonality with that
14   jeweler, even if the jeweler also owns gold and even though both generally hope that gold prices
15   will increase. To establish strict vertical commonality, an investor’s profits and losses must be
16   tied in some meaningful way to the profits and losses of the promoter. For this reason, courts
17   have typically found that where (as here) investors and promoters can sell their assets at different
18   times for varying profits and losses, that is fatal to strict vertical commonality—even where
19   general market conditions will have a common effect on investor and promoter alike. See, e.g.,
20   Marini v. Adamo, 812 F. Supp. 2d 243, 257-58 (E.D.N.Y. 2011) (“[W]hile the valuation of their
21   portfolios may have paralleled one another given their similar contents, and any deal that [the
22   promoter] found could have affected the prices of the coins that [the investor] owned, [their]
23   portfolios were not intertwined such that [their] fortunes had to rise and fall together.”).
24          These defects are common to all the tokens underlying the Amended Complaint. That is,
25   as alleged, each of the nine tokens at issue were sold on the secondary market, and thus
26   necessarily came with the possibility that the token could perform well while the underlying
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 1   platform struggled (or vice versa). Accordingly, on the Amended Complaint’s own terms, the
 2   fortunes of token-holders and developers do not invariably rise-and-fall together as one. There
 3   is in turn no strict vertical commonality.
 4                  3.      There is no investment in any common enterprise.
 5          Even if some of the tokens here exhibit a common enterprise (be it on a horizontal or
 6   strict vertical theory of commonality), the SEC still cannot satisfy Howey’s second prong. This
 7   is because Howey requires “a person invests his money in a common enterprise.” 328 U.S. at
 8   299 (emphasis added); see, e.g., Tarsadia Hotel, 726 F.3d at 1130. And here, where tokens are
 9   purchased on the secondary market from a third-party seller rather than the developer, there is no
10   investment in a common enterprise. There is just a token purchase; there cannot be an investment
11   of money in a common enterprise without money being invested in that enterprise. Unlike shares
12   purchased on the New York Stock Exchange—which represent fractional ownership of a public
13   company—tokens are not an ownership stake in anything beyond the tokens themselves.
14          Compare this all again to the facts of Howey. There, investors paid Mr. Howey directly
15   for a piece of his orange grove operation. 328 U.S. at 295. They invested money with him, and
16   hoped they would turn a profit based on his efforts. But here, there is nothing of the sort. Again,
17   when a token is purchased on an exchange, the money stays between buyer and third-party
18   seller—it does not pass through to the underlying platform, or become managed by its developers.
19          Of course, if someone purchases tokens on the secondary market, the value of those
20   tokens may be affected by the actions of the platforms (or its developers). That, however, is not
21   enough. Mr. Howey could affect the secondary market price for his oranges—say, by espousing
22   radical political views. But the fact remains that people who purchased his oranges are
23   differently situated than those who invested in his orange groves. So too for any good bought
24   on the secondary market. De Beers can always drive down the general price for diamonds by
25   flooding the market. But that has no bearing on the question of whether someone who purchased
26   a De Beers diamond on the secondary market has somehow invested money in De Beers itself.
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 1           In short, the Amended Complaint fails to plausibly allege any common enterprise. But
 2   even more fundamental, the Amended Complaint fails to show how any money was invested in
 3   any common enterprise, assuming one exists. That independent defect is also fatal to the entire
 4   Amended Complaint.
 5           B.      All Tokens Fail the “Expectation of Profits” Prong.
 6           Even if the nine tokens here each involved a “common enterprise,” they are still not
 7   securities. No token satisfies Howey’s final prong, which says an investment must be made on
 8   the “expectation that [the investor] would earn a profit solely through the efforts of the promoter
 9   or of some one other than themselves.” Howey, 328 U.S. at 298. This prong has two dimensions.
10   See Warfield, 569 F.3d at 1020. First, a product must be sold as a profit-making investment
11   rather than an item be used or consumed. United Hous. Found., Inc. v. Forman, 421 U.S. 837,
12   858 (1975). Second, profits must derive significantly from managerial efforts rather than market
13   forces. Noa v. Key Futures, Inc., 638 F.2d 77, 79 (9th Cir. 1980) (per curiam). All nine tokens
14   fail both fronts.
15                   1.     All of the tokens are “utility tokens.”
16           There is a critical distinction between investments that have some utility, and utilitarian
17   purchases that may have some investment value. The former may give rise to an “investment
18   contract”; the latter cannot. For instance, in Tarsadia Hotel, the Ninth Circuit held the purchase
19   of a condo unit did not constitute an “investment contract” because the units served as “short-
20   term vacation homes” rather than investment properties. 726 F.3d at 1132; see also, e.g.,
21   Bronstein v. Bronstein, 407 F. Supp. 925, 930 (E.D. Pa. 1976) (distinguishing ventures with “an
22   eye towards personal use or consumption of the underlying interest [and those for] the purpose
23   of acquiring an interest in a profit-making venture”). The question here is objective; courts look
24   to what an investor was reasonably led to expect. Warfield, 569 F.3d at 1021.
25           Applying that principle here, none of the nine tokens at issue is a security, because each
26   is a “utility token”—something that, by nature and design, is used on a platform rather than stored
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 1   as an investment. See, e.g., Carol Goforth, Securities Treatment of Tokenized Offerings Under
 2   U.S. Law, 46 Pepp. L. Rev. 405, 429-30 (2019). Indeed, each token was principally branded as
 3   having a primarily consumptive purpose—be it facilitating transactions, voting on issues related
 4   to the platform’s operation, or accessing the platform itself:
 5          1) Flexa is a digital payment platform designed to facilitate safe, fast, and private retail
 6              transactions. These transactions are done with its AMP tokens. AMP token-holders
 7              may choose to deposit or “stake” their tokens in “pools” to collateralize transactions
 8              on the Flexa network. In turn, Flexa’s protocols distribute rewards to those users in
 9              the form of more AMP tokens. AMP is a utility token. Am. Compl. ¶¶ 106-22.
10          2) Rally is a platform that, among other things, helps content creators, brands, and
11              celebrities launch their own “social tokens.” People use the RLY token to interact
12              with one another over the platform. RLY tokens enable users to vote on governance
13              issues and to propose how money in the Rally treasury should be spent. RLY is a
14              governance token and a utility token. Id. ¶¶ 123-31.
15          3) DerivaDex is an exchange for derivative contracts. Its DDX token would enable
16              users to make trades on the platform, and vote on governance issues. The DDX token
17              would also enable users to obtain fee discounts and receive rewards in exchange for
18              staking insurance pools on the platform. DDX is both a governance token and a more
19              traditional utility token. Id. ¶¶ 132-45.
20          4) XY Labs hosts a platform where people can submit geographic data location queries.
21              People put up XYO tokens when asking questions, and receive XYO tokens when
22              successfully answering them. The XYO token is used as the “gas” or transaction fee
23              that facilitates transactions on the platform. XYO is a utility token. Id. ¶¶ 146-55.
24          5) Rari allows users to deposit digital assets and receive high-yield interest. The RGT
25              token enables users to obtain fee discounts, vote on investing decisions, and otherwise
26              participate on the platform. The Rari platform lets users earn RGT tokens in exchange
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 1              for depositing their cryptocurrencies in liquidity pools, a process known as “liquidity
 2              mining.” RGT is both a governance token and a utility token. Id. ¶¶ 156-71.
 3          6) The Liechtenstein Cryptoassets Exchange is an exchange where people can trade
 4              digital assets and obtain financial services. The LCX token enables users to make
 5              transactions or receive discounts over the platform. Some services on the platform
 6              can only be purchased with LCX tokens. LCX is a utility token. Id. ¶¶ 172-79.
 7          7) Power Ledger is a peer-to-peer platform that lets people trade energy in real time.
 8              The POWR token allows users to access the platform as well as receive certain
 9              discounts or rewards for their participation. There is a limited supply of POWR
10              tokens in circulation, and users cannot trade energy on the platform without them.
11              POWR is a utility token. Id. ¶¶ 180-92.
12          8) DFX Finance operates as an exchange for foreign digital assets. DFX tokens are the
13              mode of payment across transactions on the platform. DFX tokens enable users to
14              vote on some governance issues, such as what cryptocurrencies the exchange will list,
15              and allow users to earn more DFX tokens through liquidity mining. DFX is a
16              governance token and a utility token. Id. ¶¶ 193-207.
17          9) Kromatika Finance runs a platform where users can efficiently trade digital assets
18              by placing range orders on certain exchanges. The KROM token, among other
19              things, is how people pay for transactions on the platform. The platform also allows
20              token-holders to earn more KROM by collateralizing or “staking” the platform with
21              cryptocurrency. KROM is a utility token. Id. ¶¶ 208-17.
22          At bottom, each token was chiefly created to be used. E.g., Am. Compl. ¶ 151 (XYO
23   developers stating that “mak[ing] a profit from trading . . . [was] not the intended purpose of an
24   XYO token”). None of the tokens were like stock—something that sits as an investment with no
25   practical utility. Rather, the very object of each token was to facilitate activity on the underlying
26   platforms and, in so doing, enable each network to develop and grow. See, e.g., Goforth,
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 1   Securities Treatment, supra, at 429 (“[Utility tokens] are designed to offer intrinsic utility that
 2   powers a decentralized, distributed network that delivers to the users of the network a
 3   consumptive good or service.”).
 4          The fact that tokens may also have investment value—or that some people may have
 5   bought tokens for investment reasons—does not alter the analysis. See, e.g., Rice v. Branigar
 6   Org., Inc., 922 F.2d 788, 790-91 (11th Cir. 1991). A utility token’s investment value is derivative
 7   of its primary function; the token is designed to be used even if that usability also makes the
 8   token ultimately more valuable. See, e.g., Nate Crosser, Initial Coin Offerings As Investment
 9   Contracts: Are Blockchain Utility Tokens Securities?, 67 U. Kan. L. Rev. 379, 393 (2018)
10   (“[Utility tokens] primarily exist to integrate into the blockchain application they are issued
11   for. . . . [A]lthough the utility token may appreciate as the usefulness of the application is proved,
12   its primary function is as an internal currency that incentivizes people to [utilize the underlying
13   platform.]”). That is especially true where, as here, a token’s presence on secondary markets
14   furthers its functional ends. Indeed, as alleged, the developers here regularly promoted trading
15   their tokens on secondary exchanges because doing so would advance their intended
16   consumptive purposes. The more people that purchase the token, the more people who will be
17   able to participate in (and improve) the related platform. See, e.g., Am. Compl. ¶ 119 (quoting
18   Flexa blog post touting that AMP’s precursor coin was available to buy on secondary markets
19   because that would then bring more people to Flexa’s payment platform).
20          In short, Howey requires that the SEC plausibly allege each token was chiefly branded as
21   an investment rather than an instrument; that the tokens here were ultimately more like the shares
22   in Mr. Howey’s orange groves than the keys to the vacation condominiums from Tarsadia Hotel.
23   The Amended Complaint does not do so. Rather, the Amended Complaint confirms that the
24   tokens here were all principally “utility tokens” to be used for functional purposes on each
25   platform. And for that reason, the Amended Complaint fails to state sufficient factual allegations
26   to get over Howey’s last hurdle.
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 1                     2.       The value of each token is driven by market forces.
 2            The nine tokens here fail to satisfy Howey’s third prong for an independent reason. For
 3   there to be an “investment contract,” profits must come from “undeniably significant . . . [and]
 4   essential managerial efforts [that] affect the failure or success of the enterprise.” SEC v. Glenn
 5   W. Turner Enters., Inc., 474 F.2d 476, 482 (9th Cir. 1973).22 That is, profits must come from
 6   significant managerial efforts as opposed to solely from external market forces. Once again,
 7   Howey is a good example: There, investors either gained or lost money depending on how well
 8   Mr. Howey managed his groves. By contrast, the Ninth Circuit held there was no “investment
 9   contract” where a business sold silver bars to people, given that “the profits to the investor
10   depended upon the fluctuations of the silver market, not the [seller’s] managerial efforts.” Noa,
11   638 F.2d at 79; see also, e.g., SEC v. Belmont Reid & Co., Inc., 794 F.2d 1388, 1391 (9th Cir.
12   1986) (Howey’s third prong not met where primary purpose of purchase of gold coins was “to
13   profit from the anticipated increase in the world price of gold”); Sinva, Inc. v. Merrill, Lynch,
14   Pierce, Fenner & Smith, Inc., 253 F. Supp. 359, 367 (S.D.N.Y. 1966) (“In a sense anyone who
15   buys or sells a horse or an automobile hopes to realize a profitable ‘investment.’ But the expected
16   return is not contingent upon the continuing efforts of another.”).
17            All of the nine tokens at issue fall on the latter side of this line. Indeed, the Amended
18   Complaint details how the price of every token here widely fluctuated on secondary markets.
19   Am. Compl. ¶¶ 122 (describing 1000% price swing in AMP), 131 (100% for RLY), 145 (300%
20   for DDX), 155 (200% for XYO), 171 (6300% for RGT), 173 (700% for LCX), 191 (300% for
21   POWR), 208 (700% for DFX), 214 (1200% for KROM).                              These price swings were not
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              22
                 In Howey, the Supreme Court actually said profits must come “solely from the efforts of others.” 328
23   U.S. at 299 (emphasis added). The Ninth Circuit has declined to read “solely” literally, opting for a more flexible
     standard. Glenn W. Turner, 474 F.2d at 482. But the Supreme Court has never blessed this interpretation of Howey,
24   and has in fact expressly reserved judgment on the Ninth Circuit’s decision to adopt it. See United Hous., 421 U.S.
     at 852 n.16. While this Court is of course bound by the Ninth Circuit’s precedent, we respectfully submit that such
25   precedent is wrong and should be overturned. Howey is best read as meaning what it says, and its final prong
     requires profits solely from the efforts of others. In any event, the SEC’s Amended Complaint fails even under the
26   Ninth Circuit’s looser interpretation of “solely,” and the Defendants need not take any position on the foregoing in
     order to prevail here.
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 1   accompanied by parallel radical changes in company policy or managerial efforts. As such, these
 2   swings illustrate that the value of the tokens turned on the market, not the managers. After all,
 3   the whole theory of the SEC’s case is that Ishan Wahi allegedly front-ran the announcements of
 4   these tokens being listed—not some change in policy at each platform or new set of “managerial
 5   efforts” by their developers.
 6          This is all especially true for the tokens here that were already functional at the time of
 7   the purchases at issue (which describes every token but DDX). See id. ¶ 134. As noted, by the
 8   time any of the purchases at issue were made, the platform underlying each token was already
 9   up-and-running—that is, each network was functional and operated on its own without extensive
10   managerial supervision. Supra pp. 48-50. But once a token became functional, its value was
11   largely out of the hands of its developers. Indeed, the entire point of blockchain technology is to
12   create platforms that become functional such that they can operate independent from their
13   original developers and early managers. See, e.g., Scott W. Maughan, Utility Token Offerings:
14   Can A Security Transform into A Non-Security?, 2019 BYU L. Rev. 1113, 1137 (2019) (“Once
15   the network is functional, developers have completed the lion’s share of the work. While they
16   may make some additional improvements or tweaks to the network, those small efforts will not
17   affect the value of the tokens nearly as much as supply and demand, government action, public
18   sentiment, and other events over which neither the investor nor the promoter has any control.”).
19          Moreover, the fact that any given set of developers may have retained the ability to affect
20   a token’s price does not change the analysis. Howey’s third prong requires that profits come
21   from “undeniably significant [and] essential managerial efforts.” Glenn W. Turner, 474 F.2d at
22   482. That requires something more than merely having the capacity to influence a token’s price.
23   Managerial efforts must drive price in order to satisfy Howey. See, e.g., SEC v. Mut. Benefits
24   Corp., 408 F.3d 737, 744 n.5 (11th Cir. 2005) (“[I]f the realization of profits depends
25   significantly on the post-investment operation of market forces, pre-investment activities by a
26   promoter would not satisfy Howey’s third prong.”); Grenader v. Spitz, 537 F.2d 612, 619 (2d
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 1   Cir. 1976) (“While efficient management of the cooperative will enhance its desirability as a
 2   place of residence, it is hardly a factor which would result in the appreciation in value of the
 3   shares . . . . Realistically, that will depend upon the general housing market, the status of the
 4   neighborhood and the availability of credit.”); Lehman Bros. Com. Corp. v. Minmetals Int’l Non-
 5   Ferrous Metals Trading Co., 179 F. Supp. 2d 159, 164 (S.D.N.Y. 2001) (holding no investment
 6   contract where “any gain likely would result in large part from market movements, not from
 7   capital appreciation due to Lehman’s efforts”).
 8            To satisfy Howey, the SEC needs to plausibly allege that the value of the nine tokens here
 9   turns on significant managerial efforts rather than market forces. As shown above, it has not
10   done so.
11            C.        The “Initial Coin Offering” Cases Are Irrelevant Here.
12            To the extent the SEC intends to rely on cases where other courts have found tokens from
13   “initial coin offerings” to be securities, those cases have no bearing on this case—where all the
14   allegations concern purchases of tokens in secondary markets. See, e.g., SEC v. Kik Interactive
15   Inc., 492 F. Supp. 3d 169 (S.D.N.Y. 2020); SEC v. Telegram Grp. Inc., 448 F. Supp. 3d 352
16   (S.D.N.Y. 2020); Balestra v. ATBCOIN LLC, 380 F. Supp. 3d 340 (S.D.N.Y. 2019).23 Each of
17   these cases turned on the promises and circumstances made by the developer to the purchasers
18   in connection with the initial coin offering. Any discussion of the attributes of the tokens
19   themselves were purely incidental to the outcome.
20            23
                  Almost all of the federal cases dealing with digital assets have arisen in the context of initial coin
21   offerings. One recent outlier is SEC v. LBRY, Inc., No. 21-cv-260, 2022 WL 16744741 (D.N.H. Nov. 7, 2022), but
     that out-of-circuit district court case also has no bearing here. One, the parties in that case did not raise—and the
22   court did not grapple with—the arguments made above about the traditional definition of “investment contract.”
     Supra Parts I and II. Two, there, unlike here, the defendants conceded the first two prongs of Howey, including the
     existence of a “common enterprise.” 2022 WL 16744741, at *3. And beyond that, respectfully, the court’s analysis
23   is not persuasive. The court obscured the difference between an investment contract and its underlying asset—
     reasoning that a token itself can be a security even if the token-holder has no ongoing relationship with the token’s
24   developer. As explained, that is a fundamental error. Supra Section I.A.3.b. Also, the court based its analysis
     entirely on the view that people who bought LBRY (the token at issue) did so in large part because they expected
25   its value to go up due to actions taken by LBRY’s developers. But as also explained, that is simply not enough to
     create an “investment contract.” Supra Section I.A.3. What is essential for there to be an “investment contract” is
26   not the ability of the promoter to affect the asset’s price, but an obligation on the part of the promoter to take certain
     actions with respect to the asset, and to do so in a manner that ties the promoter’s fortunes to the investor’s.
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 1           Again, the Howey Test turns on the promises and circumstances surrounding a
 2   transaction, which is why that test can encompass investment schemes involving assets that range
 3   from beaver pelts to oranges.           But when the promises and circumstances surrounding a
 4   transaction change, the nature of the transaction (as far as Howey is concerned) changes with it.
 5   In other words, as one Commissioner describes the argument, “an initial fundraising transaction
 6   can create an investment contract, but the token itself is not necessarily the security even if it is
 7   sold on the secondary market.” Peirce, Remarks, supra. That is because forming an investment
 8   contract requires both an underlying asset (Howey’s land) and attendant contractual obligations
 9   (Howey’s promise to cultivate oranges on his investors’ behalf). Secondary sales of only the
10   asset without promises by the promoter are categorically and fundamentally distinct.24
11           This is true for several reasons. Most basically, there is a critical difference between
12   when someone buys a token in an “initial coin offering” versus on an exchange. An ICO is the
13   (provocative and tendentious) term that is broadly used when a developer sells a new token to
14   the public to raise money for its platform. The important feature of the ICO is not, however, the
15   standalone token-sale; it is the promises that accompany the token-sale, and the promises that
16   induce the buyer to invest money with the upstart enterprise. What matters is the direct
17   relationship between the token-buyer and the developer—and that relationship arises not from
18   the mere fact the token-buyer holds a token, but because the buyer received the token as part of
19   an enforceable exchange with the developer. In that light, as compared to ICOs, secondary sales
20   are horses of a different color. Yes, in both instances, the buyer has in his possession some token.
21   But crucially, in the latter instance, the original developers do not owe any obligations to the
22   token-holders. Again, tokens primarily enable people to use an underlying platform (e.g., enter
23
              24
                  This distinction is longstanding in the academic literature on Howey and digital assets. See, e.g.,
24   Maughan, supra at 1135 (noting “a number of legal and policy-based arguments” that “suggest a token can transform
     from a security into a non-security once it crosses a certain line”); Yuliya Guseva, A Conceptual Framework for
25   Digital-Asset Securities: Tokens and Coins as Debt and Equity, 80 Md. L. Rev. 166, 192-93 (2021) (conceptualizing
     token sales as a “two-stage” process in which “what [developer] originally promised to the Initial Purchasers is
26   irrelevant” to subsequent token-buyers); see also Juan Batiz-Benet et al., The SAFT Project: Toward a Compliant
     Token Sale Framework, PROTOCOL LABS (Oct. 2, 2017), https://tinyurl.com/yp2arwr5.
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 1   transactions, vote on subjects, confer rewards); they do not inherently confer to the possessor any
 2   rights enforceable against the platform’s original developers. The tokens themselves are just
 3   assets, nothing more.
 4          For these reasons, it would be a mistake to think that all token-holders are equal, or that
 5   the token itself holds dispositive weight in the analysis. Once more, the asset underlying any
 6   “investment contract”—be it a digital token or a physical orange—is not what gives rise to the
 7   security; rather, what matters are the legally enforceable obligations that run between promoter
 8   and investor. Those obligations do not ordinarily run with the token, and the SEC alleges nothing
 9   to the contrary for any of the tokens here. And without those running obligations, there is nothing
10   that can transform the sort of naked digital assets here into federal securities. See, e.g., Yuliya
11   Guseva, A Conceptual Framework for Digital-Asset Securities: Tokens and Coins as Debt and
12   Equity, 80 Md. L. Rev. 166, 197 (2021). That is as true for tokens as it would be for an orange.
13          Each ICO case above tracks these principles. In each one, developers sold tokens to raise
14   capital to develop platforms they promised investors would become operational in the future.
15   Kik, 492 F. Supp. 3d at 174; Telegram, 448 F. Supp. 3d at 367; Balestra, 380 F. Supp 3d. at 347.
16   In each, the court concluded that the developer had promised very real post-sale obligations to
17   its buyers—even taking the form of explicit written contracts in Telegram and Kik—to deliver a
18   functional product to the investors who capitalized their projects. Kik, 492 F. Supp. 3d at 174-75;
19   Telegram, 448 F. Supp. 3d at 361-62, 372, 377; Balestra, 80 F. Supp. 3d at 355-56. And in each,
20   the court concluded that those promises were what defined and animated each transaction. Kik,
21   492 F. Supp. 3d at 180 (“without the promised digital ecosystem, Kin would be worthless”);
22   Telegram, 448 F. Supp. 3d at 375 (similar); Balestra, 380 F. Supp. 3d at 357 (similar).
23          All told, with each ICO case, the court focused on the relationship between the developer
24   and the token-buyer. And each court found it was the relationship that ultimately mattered, not
25   the token. For instance, the Telegram Court specifically parsed the token at issue from the overall
26   investment scheme, reasoning that the former alone did not give rise to a security. See 448 F.
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 1   Supp. 3d at 379 (“[T]he security in this case is not simply the Gram, which is little more than
 2   alphanumeric cryptographic sequence.”); see also SEC v. Telegram Grp. Inc., No. 19-cv-9439,
 3   2020 WL 1547383, at *1 (S.D.N.Y. Apr. 1, 2020) (explaining that the security at issue was
 4   “neither the Gram Purchase Agreement nor the Gram but the entire scheme that comprised the
 5   Gram Purchase Agreements and the accompanying understandings and undertakings made by
 6   Telegram”).25
 7            But here, as explained, there is no investment scheme, no ongoing relationship, and no
 8   binding promises across developer and buyer. There are only tokens, without anything else.
 9            Even on more granular points, the ICO cases are inapposite. This is because, at bottom,
10   those cases all involved pre-functional tokens; tokens that required the ongoing efforts of the
11   original developers to become operational. (And further, it bears mention that in Telegram and
12   Kik, the defendants affirmatively conceded that their token offerings were securities offerings—
13   they only disputed whether immediately subsequent public sales should be considered part of the
14   same investment scheme. In both cases, the court disagreed with the developers, and collapsed
15   their intertwined transactions into a single public offering. See Kik, 492 F. Supp. 3d at 174;
16   Telegram, 448 F. Supp at 367.)
17            For example, some developers in the ICO cases raised the defense that their tokens were
18   not securities because they would be designed primarily to be consumed and used. The courts
19   rejected that argument, but only because the tokens were pre-functional, and thus could not (at
20   least for the foreseeable future) be used at all. Kik, 492 F. Supp. 3d at 180 (noting the Kin token’s
21
              25
22               The fact that Telegram technically involved a “secondary public market” sale is irrelevant here. In
     Telegram, the developers held an initial private sale for Gram tokens where investors provided “upfront capital in
     exchange for a discounted future delivery of a discounted asset” with the expectation of quickly reselling their Gram
23   tokens to the public at a profit. 448 F. Supp. 3d at 367. But the “economic reality” of this transaction, the court
     concluded, was a singular public offering of Gram tokens, not a true secondary sale. Id. The court disregarded
24   Telegram’s attempt to “disguise[]” its public offering through “investors” who really functioned as “statutory
     underwriters.” Id. at 380-81. Instead, the court concluded that the initial private sale constituted “merely a step” in
25   Telegram’s “ongoing public distribution” scheme of trading Gram tokens in exchange for capital. Id. Unlike
     Telegram, the secondary sales here cannot be merged with any initial offering because, among other reasons, the
26   secondary sales involving the Wahis took place on exchanges years or months after any initial offering, and were
     far removed from the token developers’ original investment scheme. Supra note 3 and accompanying text.
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 1   consumptive use “would materialize only if the enterprise advertised by Kik turned out to be
 2   successful”); Telegram, 448 F. Supp. 3d at 374 (“Consumptive uses for Grams were not features
 3   that could reasonably be expected to appeal to the Initial Purchasers targeted by Telegram.”). In
 4   contrast, the tokens at issue in this case all exist on a functional blockchain; all have been listed
 5   on prominent secondary markets (like Coinbase); and all (except DDX, which functions in beta)
 6   are fully functional. Supra pp. 48-50. The tokens can be used, and buyers purchase them to use
 7   them.
 8           Similarly, the ICO cases’ observations about “common enterprise” are inapposite. The
 9   developers there took investors’ money with the stated purpose of building out the blockchain
10   and/or the functionality of their token—something, the courts found, readily met the “pooling”
11   element necessary for horizontal commonality. Telegram, 448 F. Supp. 3d at 369-70; Kik, 492
12   F. Supp. 3d at 179; Balestra, 380 F. Supp. 3d at 353. But such “pooling” is lacking here, where
13   secondary market buyers neither transmitted funds to developers, nor expected collective returns
14   as part of some pooled investment. Supra Section III.A. Likewise, when tokens are pre-
15   functional, strict vertical commonality is more intuitive, given that if the underlying platform
16   failed to launch, the investors “would be equally affected as all would lose their opportunity to
17   profit.” Telegram, 448 F. Supp. 3d at 369-37; see Kik, 492 F. Supp. 3d at 178-79; Balestra, 380
18   F. Supp. 3d at 354. But here, where the platforms are operational and the tokens are subject to
19   market forces, there is no such dynamic tying the fortunes of the investor and those of the
20   developer. Supra Section III.B.2.
21           In sum, token sales might constitute investment contracts when the sale includes promises
22   by the developer that amount to contractual obligations (as in some ICOs) but that does not
23   convert the tokens into investment contracts for all time. In each of the ICO cases, the developer
24   made promises to its initial buyers in connection with its token sales and those promises gave
25   rise to investment contracts. Here, there is nothing of the kind.
26                                                  ***
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 1          In bringing this action, the SEC woefully misreads Howey, and seeks to sever the term
 2   “investment contract” from its historical and statutory moorings. But even excusing those fatal
 3   errors, the Amended Complaint is still deficient. On Howey’s terms alone, none of the tokens is
 4   a federal security. From all vantage points, the SEC is operating outside its statutory authority.
 5          Given this, one final points bears mention. The SEC suggests in its Amended Complaint
 6   that it might be relying upon other tokens besides the nine specifically discussed as part of its
 7   action against the Wahis. See, e.g., Am. Compl. ¶¶ 8, 25, 93-96. But if the nine tokens identified
 8   by the SEC are not securities, the agency’s secret tokens cannot save the Amended Complaint.
 9   The SEC is required to state a plausible claim upon which relief may be granted. And to do so,
10   the SEC must identify at least one actual security to support its jurisdiction and this action under
11   the federal securities laws. Because it has not—and cannot—the Court should dismiss the
12   Amended Complaint.
13   IV.    THE SEC’S AMENDED COMPLAINT DOES NOT PLAUSIBLY ALLEGE SCIENTER.
14          Finally, the SEC’s Amended Complaint should be dismissed for a more elementary
15   reason. To press the sort of claim the SEC is pressing against the Defendants, the agency must
16   plausibly allege that they knew (or were recklessly indifferent to the possibility) that the
17   information at issue was “material for securities trading purposes.” SEC v. Obus, 693 F.3d 276,
18   286, 287 (2d Cir. 2012) (emphasis added); see also Ernst & Ernst v. Hochfelder, 425 U.S. 185,
19   193 n.12 (1976) (identifying scienter requirement for claims under § 10(b) and Rule 10b-5); id.
20   at 197 (noting knowing or intentional conduct suffices); id. at 201 (holding that negligence is not
21   enough); Hollinger v. Titan Cap. Corp., 914 F.2d 1564, 1569 (9th Cir. 1990) (en banc) (holding
22   that reckless conduct is sufficient).
23          But here, the SEC offers nothing to suggest that the Wahis even had an inkling that the
24   tokens at issue were securities. Nor could it. Ishan Wahi worked at Coinbase—a massive, multi-
25   billion dollar publicly traded company whose entire business model is premised on not listing
26   securities. The company uses a legion of lawyers and other employees to conduct a “rigorous
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 1   process to analyze and review each digital asset before making it available on our exchange.”
 2   Paul Grewal, Coinbase Does Not List Securities. End of Story., Coinbase (July 21, 2022),
 3   https://tinyurl.com/3rph85vm. It has also worked with the Crypto Ratings Council to develop a
 4   point-based framework for analyzing tokens under the Howey Test. See Asset Legal Review,
 5   Coinbase (last visited Feb. 2, 2023), https://tinyurl.com/3ketxen5; Crypto Rating Council’s
 6   Securities       Law     Framework,         Crypto       Rating      Council       (May       10,     2021),
 7   https://tinyurl.com/ycxzewbu.26 And it independently performs a three-part review before a
 8   potential listing: (1) factual diligence on a token, (2) “an analysis under the Howey line of
 9   securities cases to determine the likelihood that an asset qualifies as an investment contract under
10   U.S. securities laws,” and (3) an evaluation to determine “whether the asset has characteristics
11   of other instruments that may be deemed to be securities, such as a note or stock,” or of a
12   derivative. Asset Legal Review, supra. Every token at issue was listed on Coinbase and thus had
13   passed that “rigorous” process—a process that the SEC itself has reviewed and approved.
14   Grewal, supra. There was no reason for Ishan Wahi to think that any of those tokens were
15   nonetheless securities, and the SEC has alleged nothing to indicate otherwise. Nor has it alleged
16   anything that suggests that Nikhil Wahi somehow knew more about the tokens’ nature than his
17   older brother.
18           More still, it is especially implausible to suggest the Wahis knew what tokens were
19   securities when the SEC cannot even say. The SEC alleges that the Defendants traded in
20   “dozens” of digital assets, Am. Compl. ¶¶ 93-96, but can only muster that “at least” nine of these
21   tokens were securities, id. ¶ 8. When the regulator cannot readily parse a security from a non-
22   security, it is deeply unfair to expect the regulated to do so. Especially so, where, as here, the
23   regulators cannot even agree among themselves. Supra p. 37 (describing statement from CFTC
24   Commissioner Caroline Pham criticizing the SEC’s conception of a “security” in this Amended
25
             26
                  An earlier version of this framework used a similar scorecard methodology. Coinbase, Coin Center,
26   USV & Consensys, A Securities Law Framework for Blockchain Tokens (Dec. 7, 2016),
     https://tinyurl.com/dsz65yyd.
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 1   Complaint); Peirce, Remarks, supra (explaining that the SEC has “implied that secondary trading
 2   of tokens that were once sold as part of a securities contract is also governed by the securities
 3   laws without adequately explaining why that trading constitutes securities transactions”
 4   (emphasis added)).
 5          It is not enough for the SEC to insist that Ishan Wahi knew he was misappropriating
 6   Coinbase’s confidential information. As the Supreme Court has made clear, § 10(b) “does not
 7   catch all conceivable forms of fraud involving confidential information,” just “fraudulent means
 8   of capitalizing on such information through securities transactions.” United States v. O’Hagan,
 9   521 U.S. 642, 656 (1997) (emphasis added). Absent a plausible allegation that Ishan Wahi knew
10   he was interfering with the securities markets, the “animating purpose” behind the federal
11   securities fraud laws is not implicated. Id. at 658-59. In other words, the SEC’s allegations,
12   taken as true, may give rise to an employee misconduct claim or some other charge; but not
13   securities fraud.
14          In short, the only certain feature of the SEC’s approach to digital asset regulation is its
15   uncertainty. Nobody—from Congress to Coinbase, Washington regulators to Wahis—can state
16   with any degree of assuredness what token is or is not an “investment contract” in the eyes of the
17   SEC. At some point, the SEC’s Delphic strategy of revealing one-off securities via enforcement
18   actions has to run up against the basic protections of the legal system. A scienter requirement is
19   one of those protections. And at the very least, it guards against Amended Complaints like this
20   one.
21                                           CONCLUSION
22          For the reasons detailed above, Defendants Ishan and Nikhil Wahi respectfully request
23   that this Court dismiss with prejudice the SEC’s Amended Complaint pursuant to Rule 12(b)(6)
24   of the Federal Rules of Civil Procedure.
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 3          DATED this 6th day of February, 2023.
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                                                    Respectfully submitted,
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 6                                                  /s/ James M. Burnham

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      /s/ Priya Chaudhry                      /s/ Todd Maybrown
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     CASE NO. 2:22-CV-01009                                Tel. 202-879-5429 • jonesday.com
             Case 2:22-cv-01009-TL Document 33 Filed 02/06/23 Page 80 of 81




 1                                CERTIFICATE OF CONFERRAL
 2          Pursuant to Judge Lin’s Standing Order for All Civil Cases, I certify that undersigned
 3   counsel met and conferred with the Plaintiff, and determined that the basis for this motion cannot
 4   be cured by filing an amended pleading.
 5

 6                                                /s/ James M. Burnham
                                                  James M. Burnham
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                                                  Attorney for Defendant Ishan Wahi
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     CASE NO. 2:22-CV-01009                                         Tel. 202-879-5429 • jonesday.com
            Case 2:22-cv-01009-TL Document 33 Filed 02/06/23 Page 81 of 81




 1                                  CERTIFICATE OF SERVICE
 2          I hereby certify that on February 6, 2022, I electronically filed the foregoing with the
 3   Clerk of the Court using the CM/ECF system, which will send notification of this filing to the
 4   counsel of record.
 5          I further certify that I have sent this filing to Sameer Ramani by email to his counsel in a
 6   criminal proceeding, David Kornblau, at david.kornblau@dentons.com, and to a Gmail account
 7   Ramani has used, at samyramani@gmail.com. Ramani has not yet appeared in this proceeding,
 8   and a motion for alternative service (Dkt. #28) by these methods is pending before this Court.
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10                                                /s/ James M. Burnham
                                                  James M. Burnham
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                                                  Attorney for Defendant Ishan Wahi
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